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     STUART H. SINGER
 1   BOIES, SCHILLER, & FLEXNER LLP
     401 East Las Olas Boulevard, Suite 1200
 2   Fort Lauderdale, Florida 33301
     Telephone: (954) 356-0011
 3   Facsimile: (954) 356-0022
     Email: ssinger@bsfllp.com
 4
     WILLIAM A. ISAACSON
 5   BOIES, SCHILLER & FLEXNER LLP
     5301 Wisconsin Ave. NW, Suite 800
 6   Washington, DC 20015
     Telephone: (202) 237-2727
 7   Facsimile: (202) 237-6131
     Email: wisaacson@bsfllp.com
 8
     PHILIP J. IOVIENO
 9   ANNE M. NARDACCI
     BOIES, SCHILLER & FLEXNER LLP
10   30 South Pearl Street, 11th Floor
     Albany, NY 12207
11   Telephone: (518) 434-0600
     Facsimile: (518) 434-0665
12   Email: piovieno@bsfllp.com
     Email: anardacci@bsfllp.com
13
     Counsel for Plaintiff Interbond Corporation of America
14
                               UNITED STATES DISTRICT COURT
15                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
16

17   IN RE CATHODE RAY TUBE (CRT)                    Case No. 13-cv-05727-SC
     ANTITRUST LITIGATION
18                                                Master File No. 3:07-cv-05944-SC
     This Document Relates To Individual Case No.
19   13-cv-05727-SC                               MDL No. 1917
20   INTERBOND CORPORATION OF
     AMERICA,                                        FIRST AMENDED COMPLAINT
21
              Plaintiffs,                            JURY TRIAL DEMANDED
22
        vs.
23
     TECHNICOLOR SA (f/k/a THOMSON SA),              REDACTED VERSION OF DOCUMENT
24   TECHNICOLOR USA, INC. (f/k/a                    SOUGHT TO BE PARTIALLY SEALED
     THOMSON CONSUMER ELECTRONICS,
25   INC.), VIDEOCON INDUSTRIES, LTD.,
     TECHNOLOGIES DISPLAYS AMERICAS
26   LLC (f/k/a THOMSON DISPLAYS
     AMERICAS LLC), MITSUBISHI ELECTRIC
27   CORPORATION, MITSUBISHI ELECTRIC
     VISUAL SOLUTIONS AMERICA, INC., and
28   MITSUBISHI ELECTRIC & ELECTRONICS
                                                                                  Case No. 13-cv-05727-SC
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     USA, INC.,
 1
              Defendants.
 2

 3
            Plaintiff Interbond Corporation of America d/b/a BrandsMart USA (“BrandsMart”) for
 4
     its Complaint against all Defendants named herein, hereby alleges as follows:
 5
     I.     INTRODUCTION
 6
            1.     BrandsMart brings this action to recover those damages caused to it by a long-
 7
     running conspiracy extending from at least March 1, 1995, through at least November 25, 2007
 8
     (the “Relevant Period”), conducted by an international cartel formed by Defendants and their
 9
     co-conspirators. The purpose and effect of this conspiracy was to fix, raise, stabilize and
10
     maintain prices for cathode ray tubes (“CRTs”).
11
            2.     Defendant Technicolor SA, which during the Relevant Period was known as
12
     Thomson SA, has admitted that it participated in the conspiracy to fix the prices of CRTs. In
13
     its 2011 Annual Report to shareholders, Technicolor SA stated that it “played a minor role in
14
     the alleged anticompetitive conduct [regarding CRTs].”        While BrandsMart disputes that
15
     Technicolor SA’s role in the conspiracy was minor, whatever that may mean, and believes that
16
     discovery in this case to date has demonstrated and further discovery will demonstrate
17
     Technicolor SA’s role was substantial, there is no dispute that Technicolor SA participated in
18
     fixing the prices of CRTs. Following an investigation lasting four years, in December 2012 the
19
     European Commission levied a fine of €38.6 million against Technicolor SA for participating
20
     in a conspiracy to fix CRT prices. In its 2012 Annual Report, Technicolor SA acknowledged
21
     that “[f]ollowing the European Commission decision, purchasers may bring individual claims
22
     against the Company seeking compensation for alleged loss suffered as a result of the anti-
23
     competitive conduct.”
24
            3.     Defendants and their co-conspirators are or were among the leading
25
     manufacturers of: (a) color picture tubes (“CPTs”), which are CRTs used primarily in color
26
     televisions; (b) color display tubes (“CDTs”), which are CRTs used primarily in color computer
27
     monitors; and (c) electronic devices containing CPTs (such as televisions) or CDTs (such as
28

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 1   computer monitors). For the purposes of this Complaint, CPTs of all sizes and the products
 2   containing them shall be referred to collectively as “CPT Products.” Also for the purposes of
 3   this Complaint, CDTs of all sizes and the products containing them shall be referred to as “CDT
 4   Products.” CDT Products and CPT Products shall be referred to collectively herein as “CRT
 5   Products.”
 6           4.         During the Relevant Period, Defendants and their co-conspirators controlled the
 7   majority of the CRT industry, a multibillion dollar market, which in 1999 alone generated over
 8   $19 billion dollars in gross revenue. During the Relevant Period, virtually every household in
 9   the United States owned at least one CRT Product.
10           5.         Since the mid-1990s, the CRT industry faced significant economic pressures as
11   customer preferences for other emerging technologies shrank profits and threatened the
12   sustainability of the industry. In order to maintain price stability, increase profitability, and
13   decrease the erosion of pricing in the CRT market, Defendants and their co-conspirators
14   conspired, combined and contracted to fix, raise, maintain and stabilize the price at which CRTs
15   were sold in the United States.
16           6.         With respect to CRTs, Defendants, their co-conspirators and/or their agents
17   agreed, inter alia, to: (a) fix target prices and price guidelines; (b) exchange pertinent
18   information on, inter alia, shipments, prices, production and customer demand; (c) coordinate
19   public statements regarding available capacity and supply; (d) resolve issues created by
20   asymmetrical vertical integration among some of the co-conspirators; (e) keep their collusive
21   meetings secret; (f) expose cheating on the agreements and to discuss the reconciliation of
22   accounts; (g) allocate market share of overall sales; (g) influence and, at times, coordinate
23   pricing with producers in other geographic areas; (h) limit competition for certain key customers;
24   (i) allocate customers; (j) allocate each producer’s share of certain key customers’ sales; and (k)
25   restrict output.
26           7.         The conspiracy concerning CRTs commenced with bilateral meetings that began
27   in at least March of 1995 and continued throughout the Relevant Period. Also beginning in
28   1995, the co-conspirators began to engage in informal group meetings. By 1997, these group
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 1   meetings had become more formalized, as described in greater detail below. There were at least
 2   500 conspiracy meetings during the Relevant Period, including hundreds of group meetings and
 3   hundreds of bilateral meetings. These meetings occurred in various locales, including Taiwan,
 4   South Korea, Indonesia, Thailand, Singapore, Malaysia, China, the U.K., Europe, and the United
 5   States.    These meetings included representatives from the highest levels of the respective
 6   companies, as well as regional managers and others.
 7             8.    During the Relevant Period, the conspiracy affected billions of dollars of
 8   commerce throughout the United States.
 9             9.    This conspiracy is being investigated by the United States Department of Justice
10   (“DOJ”) and by multiple foreign competition authorities, including the European Commission,
11   the Korean Fair Trade Commission, and the Japan Fair Trade Commission. Technicolor USA,
12   Inc. (f/k/a Thomson Consumer Electronics, Inc.) was subpoenaed by the DOJ in connection with
13   its investigation of CRT price-fixing. Technicolor SA is the subject of an investigation by the
14   Mexican Federal Competition Commission, and its affiliate in Brazil is under investigation by
15   the Brazilian Ministry of Justice for fixing the prices of CRTs. The first participant to be
16   indicted by the DOJ was C.Y. Lin, the former Chairman and CEO of co-conspirator Chunghwa
17   Picture Tubes, Ltd., who had a two-count indictment issued against him by a federal grand jury
18   in San Francisco on February 10, 2009. Since then, five more individuals have been indicted in
19   connection with Defendants’ CRT price-fixing conspiracy.
20             10.   In March 2011, co-conspirator Samsung SDI Company, Ltd. (“Samsung SDI”)
21   pleaded guilty to fixing the prices of CDTs during at least the nine-year period from January
22   1997 to March 2006. Samsung SDI paid a criminal fine to the United States of $32 million. The
23   conspiracy to which Samsung SDI pleaded guilty was agreeing with its competitors and co-
24   conspirators to raise the prices of CDTs, to reduce output of CDTs, and to allocate target market
25   shares for the CDT market overall and for certain customers.
26             11.   During the Relevant Period, Plaintiff purchased CRT Products in the United
27   States and elsewhere directly and indirectly from Defendants, and/or Defendants’ subsidiaries
28   and affiliates and/or any agents Defendants or Defendants’ subsidiaries and affiliates controlled.
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 1   Plaintiff thus suffered damages as a result of Defendants’ conspiracy, and brings this action to
 2   recover the overcharges paid for the CRT Products containing price-fixed CRTs it purchased
 3   during the Relevant Period.
 4          12.     This case is related to and concerns the same anti-competitive conspiracy and
 5   many of the same transactions and events that are presently pending in Interbond Corporation of
 6   America v. Hitachi, Ltd., et al., Individual Case No. 0:11-cv-62437-JIC, filed in this Court and
 7   presently pending before the Honorable Samuel Conti in the Northern District of California
 8   (Individual Case No. 3:11-cv-06275-SC, Master File No. 3:07-cv-05944-SC, MDL No. 1917).
 9   Both this case and Interbond Corporation of America v. Hitachi, Ltd., et al. are suits for damages
10   arising out of the conspiracy to fix the prices of and restrain competition for CRTs in violation of
11   the federal antitrust laws and state antitrust and unfair competition laws.
12   II.    JURISDICTION AND VENUE
13          13.     Plaintiff brings this action to obtain injunctive relief under Section 16 of the
14   Clayton Act; and to recover damages, including treble damages under Section 4 of the Clayton
15   Act, costs of suit and reasonable attorneys’ fees arising from Defendants’ violations of Section 1
16   of the Sherman Act (15 U.S.C. § 1).
17          14.     Plaintiff also brings this action pursuant to Section 501.211 of the Florida
18   Statutes, for declaratory relief and damages that Plaintiff sustained due to Defendants’ and their
19   co-conspirators violation of the Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §§
20   501.201, et seq. (“FDUTPA”).
21          15.     The Court has subject matter jurisdiction pursuant to Sections 4 and 16 of the
22   Clayton Act (15 U.S.C. §§ 15 and 26) and 28 U.S.C. §§ 1331 and 1337. The Court has
23   supplemental jurisdiction over Plaintiff’s FDUTPA claims under 28 U.S.C. § 1367 because they
24   arise from the same nucleus of operative facts alleged in this Complaint. Plaintiff’s state law
25   claims are so related to its claim under Section 1 of the Sherman Act that they form part of the
26   same case or controversy.
27          16.     The activities of Defendants and their co-conspirators, as described herein,
28   involved U.S. import trade or commerce and/or were within the flow of, were intended to, and
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 1   did have a direct, substantial and reasonably foreseeable effect on Unites States domestic and
 2   import trade or commerce. This effect gives rise to Plaintiff’s antitrust claims. During the
 3   Relevant Period, Defendants’ conspiracy affected the price of CRT Products purchased in the
 4   United States. In particular, Defendants’ and their co-conspirators’ conspiracy directly and
 5   substantially affected the price of CRT Products purchased by Plaintiff in Florida.
 6           17.     This Court has jurisdiction over each Defendant named in this action under
 7   Section 12 of the Clayton Act (15 U.S.C. § 22). Defendants and their co-conspirators purposely
 8   availed themselves of the laws of the United States as they manufactured CRT Products for sale
 9   in the United States, or CRTs which were incorporated into CRT Products Defendants and their
10   co-conspirators knew would be sold to customers in the United States. Defendants’ and their co-
11   conspirators’ conspiracy affected this commerce in CRT Products in the United States.
12           18.     Venue is proper in the Southern District of Florida under Section 12 of the
13   Clayton Act (15 U.S.C. § 22) and 28 U.S.C. § 1391 because each Defendant is either an alien
14   corporation, transacts business in this District, or is otherwise found within this District. In
15   addition, venue is proper in this District under 28 U.S.C. § 1391 because a substantial part of the
16   events or omissions giving rise to this claim occurred in this District. Defendants and their co-
17   conspirators knew that CRT Products containing price-fixed CRTs would be sold and shipped
18   into this District.
19   III.    PARTIES
20           A.      Plaintiff
21           19.     Plaintiff BrandsMart is a Florida corporation with its corporate headquarters in
22   Hollywood, Florida. BrandsMart was incorporated in 1977 with the opening of its first retail
23   location in Miami, Florida. Through the conclusion of Defendants’ and the co-conspirators’
24   conspiracy, BrandsMart was a supplier of consumer electronics products and services with 11
25   stores in Florida and Georgia. In fiscal year 2010, BrandsMart sold $725 million of products and
26   services.
27           20.     During the Relevant Period, BrandsMart purchased CRT Products directly and
28   indirectly from the Defendants, and/or the Defendants’ subsidiaries and affiliates and/or any
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 1   agents the Defendants or Defendants’ subsidiaries and affiliates controlled. As such, BrandsMart
 2   suffered injury as a result of Defendants’ and co-conspirators’ unlawful conduct. Throughout the
 3   Relevant Period, BrandsMart conducted a substantial amount of business in Florida.
 4          21.      During the Relevant Period, BrandsMart’s negotiations for the purchase of CRT
 5   Products took place in the United States and were controlled by a department based at the
 6   company’s headquarters in Florida. In addition, BrandsMart’s purchase orders for CRT Products
 7   were issued from Florida, all invoices for CRT Products were sent to BrandsMart in Florida, and
 8   all payments for CRT Products were made by BrandsMart from Florida. BrandsMart employees
 9   based in Florida were also responsible for selecting vendors and product lines with respect to
10   CRT Products.
11          B.       Defendants
12                   1.     Thomson Entities
13          22.      Defendant Thomson SA (now known as Technicolor SA) (“Thomson SA”) is a
14   French Corporation with its principal place of business located at 1-5 Rue Jeanne d’Arc 92130
15   Issy-les-Moulineaux, France. Thomson SA, on its own or through its wholly owned subsidiary
16   Thomson Consumer Electronics, Inc., and other subsidiaries, was a major manufacturer of CRTs
17   for the United States market, with plants located in the United States, Mexico, China and Europe.
18   Thomson SA sold its CRTs internally to its television-manufacturing division, which had plants
19   in the United States and Mexico, and to other television manufacturers in the United States and
20   elsewhere. For much of the Relevant Period, the television manufacturing division of Thomson
21   SA manufactured and sold in the United States CRT televisions under the RCA and GE brands.
22   In July 2005, Thomson SA sold its CRT business to defendant and co-conspirator Videocon
23   Industries, Ltd. for €240 million. Simultaneously, Thomson SA invested a total of €240 million
24   in Videocon, comprised of a €225 million investment in Videocon Industries, Ltd. and a €15
25   million investment in Videocon International, and acquired 13.1% of Videocon Industries, Ltd.
26   The agreement with Videocon provided that Thomson management would help Videocon run the
27   CRT business during the transition period and beyond. Videocon and Thomson also agreed to
28   set up Preferred Supplier Agreements for Thomson’s display components business. Thomson
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 1   SA also received at least one seat on Videocon’s board of directors when it invested in Videocon
 2   Industries, Ltd.   Thomson SA maintained at least a 10% ownership interest in Videocon
 3   Industries, Ltd. for the remainder of the Relevant Period.         In January 2010, Thomson SA
 4   changed its name to Technicolor SA. During the Relevant Period, Thomson SA manufactured,
 5   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
 6   affiliates, to customers throughout the United States.
 7          23.     Defendant Thomson Consumer Electronics, Inc. (now known as Technicolor
 8   USA, Inc.) (“Thomson Consumer”) is a United States corporation with its principal place of
 9   business located at 10330 N Meridian St., Indianapolis, Indiana 46290-1024.                     Thomson
10   Consumer is a wholly owned subsidiary of Thomson SA and was Thomson SA’s primary
11   subsidiary for the manufacture and sales of CRTs in the United States during the Relevant
12   Period. Thomson Consumer was a major manufacturer of CRTs for the United States market,
13   with plants located in Scranton, Pennsylvania; Marion, Indiana; and Mexicali, Mexico.
14   Thomson Consumer sold its CRTs to television manufacturers in the United States, Mexico and
15   elsewhere.    Thomson Consumer’s CRT business was sold by its parent Thomson SA to
16   Videocon Industries, Ltd. in 2005. Simultaneously, Thomson Consumer’s parent company
17   Thomson SA invested €240 million into Videocon Industries, Ltd. and obtained 13.1%
18   ownership of Videocon Industries, Ltd.         Thomson SA also received at least one seat on
19   Videocon’s board of directors when it invested in Videocon Industries, Ltd. The agreement with
20   Videocon provided that Thomson management would help Videocon run the CRT business
21   during the transition period and beyond. Videocon and Thomson also to set up Preferred
22   Supplier Agreements for Thomson’s displays components businesses. Thomson SA maintained
23   at least a 10% ownership interest in Videocon Industries, Ltd. throughout the Relevant Period.
24   Thomson Consumer was a parent corporation of its wholly owned subsidiary, Thomson Displays
25   Americas LLC (now known as Technologies Displays America, LLC).                     In January 2010,
26   Thomson Consumer Electronics, Inc. changed its name to Technicolor USA, Inc. During the
27   Relevant Period, Thomson Consumer manufactured, marketed, sold and/or distributed CRT
28   Products either directly or through its subsidiaries or affiliates throughout the United States.
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 1          24.     Defendant Thomson SA had sufficient minimum contacts with the United States
 2   during the Relevant Period for it to be subject to personal jurisdiction in the United States.
 3   Thomson SA purposefully availed itself of the United States market for CRTs and CRT
 4   products. Thomson SA fixed prices and constrained competition on CRTs it and its wholly
 5   owned subsidiary in the United States, Thomson Consumer, sold in the United States. Thomson
 6   SA had significant contacts with the United States, and it dominated and/or controlled the
 7   finances, policies, and/or affairs of its U.S.-based subsidiary, Thomson Consumer, relating to the
 8   antitrust violations alleged in this Complaint. During the Relevant Period, Thomson SA was a
 9   large multinational industrial and technology company.       Thomson SA was neither a mere
10   holding company nor a corporate shell, and its subsidiaries, including Thomson Consumer, were
11   more than simple investment mechanisms for diversifying risk. Thomson SA had a controlling
12   role in the operation of its subsidiaries and exercised a central management function over its
13   subsidiaries, including Thomson Consumer, which served the function of servicing the pivotal
14   U.S. CRT market. During the Relevant Period, between 40-50% of Thomson SA’s revenues
15   were derived from the United States, and Thomson SA’s CEO described the United States as
16   Thomson SA’s most important market. Thomson SA managed its business centrally, including
17   that of U.S. subsidiary Thomson Consumer, and its management and board of directors set its
18   policies and direction. Thomson SA employees oversaw the United States profits and losses
19   associated with Thomson Consumer’s high-end and value TV businesses. Thomson SA also was
20   involved in planning and purchasing discussions with U.S. CRT customers, Thomson SA had to
21   approve the purchases made by U.S. customers, and Thomson SA was involved in CRT
22   production and pricing discussions relating to CRTs manufactured in Mexico for the North
23   American market. During the Relevant Period, many Thomson SA executives also served as
24   executives and/or board members of Thomson Consumer, and Thomson Consumer executives
25   served as executive officers of or directors of Thomson SA, including the Chairman and CEO of
26   Thomson SA who simultaneously served as the President and CEO of Thomson Consumer, and
27   thereafter as the Chairman of Thomson Consumer:
28

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     Name                     Role with Thomson SA               Role with Thomson Consumer
 1
     Thierry Breton           Chairman and CEO (1997-2001); President & CEO (1997-2000);
 2                            Member, Board of Directors Chairman (1997-2001)
                              (2002-2005)
 3   Olivier Mallet           Senior Vice President, Finance Director (1999-2000)
                              (1996-2000)
 4
     Charles Dehelly          Senior Executive Vice President Director (2002-2003)
 5                            (1998-2000); Senior Executive
                              Vice President and COO (2001);
 6                            CEO (2002-2004)
 7   Julian Waldron           Senior Executive Vice President, Director (2001-2007)
                              CFO (2001-2007); Interim CEO
 8                            and Senior Executive Vice
                              President, CFO (2007-2008)
 9   Frederic Rose            CEO (2008-present)                 Chairman (2012-present)
10   Moreover, numerous other Thomson SA “Executive Officers” had operational responsibilities in
11   the United States:     Jim Meyer was Senior Executive Vice President of SBUs Americas,
12   Multimedia Products and New Media Services; Al Arras was Executive Vice President of SBU
13   Audio and Communications; Michael O’Hara was Senior Vice President of SBU Americas; and
14   Enrique Rodriguez was Vice President of SBU Multimedia Products. All were stationed at
15   Thomson Consumer in Indianapolis, Indiana.
16          25.       Thomson SA and Thomson Consumer are collectively referred to herein as
17   “Thomson.”
18                    2.     Videocon
19          26.       Defendant Videocon Industries, Ltd. (“Videocon”) is an Indian corporation with
20   its principal place of business located at Aurangabad Paithan Road 14, KM Stone, Chitegaon,
21   Aurangabad 431005, India. In 2005, Videocon acquired Thomson’s CRT business for €240
22   million, which included facilities and personnel in the United States, Poland, Italy, Mexico and
23   China. The deal for Videocon to acquire Thomson SA’s CRT business was completed through a
24   special purpose vehicle, Eagle Electronics.      At the same time that Videocon purchased
25   Thomson’s CRT business, Thomson SA invested a total of €240 million in Videocon, comprised
26   of a €225 million investment in Videocon Industries, Ltd. and a €15 million investment in
27   Videocon International, and acquired 13.1% of Videocon Industries, Ltd. The agreement with
28   Videocon provided that Thomson management would help Videocon run the CRT business
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 1   during the transition period and beyond. Videocon and Thomson also set up Preferred Supplier
 2   Agreements for Thomson’s displays components businesses. Thomson SA maintained at least a
 3   10% ownership interest in Videocon throughout the Relevant Period. Thomson SA also received
 4   one or more seats on Videocon’s board of directors when it invested in Videocon. Videocon’s
 5   purchase of Thomson’s CRT business included acquisition of Thomson Displays Americas LLC
 6   (now known as Technologies Displays Americas, LLC) and its Mexican subsidiary, Thomson
 7   Displays Mexicana, S.A. de C.V. (now known as Technologies Displays Mexicana, S.A. de
 8   C.V.), including their facilities and personnel located in the United States, through Videocon’s
 9   wholly owned investment entity located in the Cayman Islands, Eagle Corporation Limited.
10   Videocon manufactured CRTs for the United States market in Thomson’s former CRT plants in
11   Mexicali, Mexico and China. During the Relevant Period, Videocon manufactured, marketed,
12   sold and/or distributed CRT Products, either directly or indirectly through its subsidiaries or
13   affiliates, to customers throughout the United States.
14                  3.      Technologies Displays
15          27.     Defendant Technologies Displays Americas LLC (formerly Thomson Displays
16   Americas LLC) (“TDA”) is a Delaware limited liability company with its principal place of
17   business located at 1778 Carr Road Ste 4B, Calexico, California 92231. TDA is a wholly owned
18   subsidiary of Videocon. TDA acquired Thomson’s U.S. CRT assets in 2005 after a period of
19   cooperation and transition with Thomson entities subsequent to and in connection with the
20   purchase and sale in 2005. TDA was originally formed with its governing members represented
21   equally from both Thomson and Videocon. TDA is owned by Eagle Corp., Ltd. Eagle Corp.,
22   Ltd. became a wholly owned subsidiary of Videocon on December 31, 2005, after Videocon
23   acquired the balance 81% equity stake in Eagle Corp., Ltd. Eagle Corp., Ltd. acquired TDA in
24   September 2005. In August 2005, Thomson Consumer made a capital contribution to TDA in
25   the form of a transfer of assets and contract rights related to TDA’s North American CRT
26   business. TDA is the parent corporation of its co-conspirator, Technologies Displays Mexicana,
27   S.A. de C.V., a Mexican corporation which during the Relevant Period manufactured CRTs and
28   sold the CRTs to TDA for sale and distribution.           During the Relevant Period, TDA
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 1   manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly
 2   through its subsidiaries or affiliates, to customers throughout the United States. Defendants
 3   Thomson and then Videocon dominated and/or controlled the finances, policies, and/or affairs of
 4   TDA and its subsidiary Technologies Displays Mexicana, S.A. de C.V., relating to the antitrust
 5   violations alleged in this Complaint.           Two high-level Thomson managers—Thomson’s
 6   Managing Director of NAFTA Sales, Jack K. Brunk (“Brunk”), and Thomson’s General
 7   Manager, James P. Hanrahan (“Hanrahan”)—transitioned to work for TDA after it acquired
 8   Thomson’s CRT business. In addition, TDA referred to itself as a “Thomson” business after
 9   Videocon’s acquisition of Thomson’s CRT business.             TDA and Technologies Displays
10   Mexicana, S.A. de C.V., are collectively referred to as “Technologies Displays.”
11                    4.       Mitsubishi Entities
12          28.       Defendant Mitsubishi Electric Corporation (“Mitsubishi Electric Japan”) is a
13   Japanese corporation located at Building 2-7-3, Marunouchi, Chiyoda-ku, Tokyo 100-8310,
14   Japan. Mitsubishi Electric Japan is a Fortune Global 500 Company that was ranked 214 in 2011
15   and that had combined net sales of over $44 billion in 2012. It has various subsidiaries operating
16   in the United States, Mexico, and Canada.          Mitsubishi Electric Japan and its subsidiaries
17   manufactured CRTs in factories located in Japan, Taiwan, Mexico and Canada for sale in the
18   United States.        These CRTs were sold internally to Mitsubishi’s television and monitor
19   manufacturing division and to other television and monitor manufacturers in the United States
20   and elsewhere. Mitsubishi’s television and monitor division also purchased CRTs from other
21   CRT manufacturers.         During the Relevant Period, Mitsubishi Electric Japan manufactured,
22   marketed, sold and distributed CRT Products in the United States.
23          29.       Defendant Mitsubishi Electric & Electronics USA, Inc. (“Mitsubishi Electric
24   USA”) is a United States corporation located at 5665 Plaza Drive, Cypress, California 90630.
25   Mitsubishi Electric USA is a wholly-owned subsidiary of Mitsubishi Electric Japan. Mitsubishi
26   Electric USA manufactured CRTs for the United States market in plants located in Mexicali,
27   Mexico and Ontario, Canada. Mitsubishi Electric USA sold its CRTs internally to its television
28   and monitor manufacturing division and to other television and monitor manufacturers in the
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 1   United States and elsewhere. Mitsubishi’s television and monitor division also purchased CRTs
 2   from other CRT manufacturers.          During the Relevant Period, Mitsubishi Electric USA
 3   manufactured, marketed, sold and distributed CRT Products in the United States.
 4          30.     Defendant Mitsubishi Electric Visual Solutions America, Inc. (f/k/a Mitsubishi
 5   Digital Electronics America, Inc.) (“Mitsubishi Digital”) is a United States corporation located
 6   at 9351 Jeronimo Road, Irvine, California          92618.   Mitsubishi Digital is a wholly-owned
 7   subsidiary of Mitsubishi Electric Japan.        During the Relevant Period, Mitsubishi Digital
 8   manufactured, marketed, sold and distributed CRT Products in the United States.
 9          31.     Mitsubishi Electric Japan, Mitsubishi Electric USA and Mitsubishi Digital are
10   collectively referred to herein as “Mitsubishi.”
11          C.      Co-Conspirators
12          32.     Various persons and firms not named as Defendants in this Complaint
13   participated as co-conspirators in the violations alleged herein and performed acts and made
14   statements in furtherance of the conspiracy to fix, raise, stabilize and maintain prices for CRTs.
15   Many of these co-conspirators are named as defendants in the related case Interbond
16   Corporation of America v. Hitachi, Ltd., et al., Individual Case No. 0:11-cv-62437-JIC, filed in
17   the Southern District of Florida and presently pending before this Court (Individual Case No.
18   3:11-cv-06725-SC, Master File No. 3:07-cv-05944-SC, MDL No. 1917). Specific information
19   regarding the identity of these co-conspirators and their participation in the CRT price-fixing
20   conspiracy is set forth in the First Amended Complaint in Interbond Corporation of America v.
21   Hitachi, Ltd., et al. (MDL Doc. No. 1974).
22          33.     Co-conspirator Hitachi, Ltd. is a Japanese company with its principal place of
23   business at 6-6, Marunouchi 1-chome, Chiyoda-ku, Tokyo, 100-8280, Japan. Hitachi, Ltd. is the
24   parent company for the Hitachi brand of CRT Products. In 1996, Hitachi, Ltd.’s worldwide
25   market share for color CRTs was 20 percent.             During the Relevant Period, Hitachi, Ltd.
26   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
27   subsidiaries or affiliates, throughout the United States.
28          34.     Co-conspirator Hitachi Displays, Ltd. (“Hitachi Displays”) is a Japanese
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 1   company with its principal place of business located at 3300 Hayano, Mobara-shi, Chiba-ken,
 2   297-8622, Japan. Hitachi Displays was originally established as Mobara Works of Hitachi, Ltd.
 3   in Mobara City, Japan, in 1943. In 2002, all the departments of planning, development, design,
 4   manufacturing and sales concerned with the display business of Hitachi, Ltd. were spun off to
 5   create a separate company called Hitachi Displays.           During the Relevant Period, Hitachi
 6   Displays manufactured, marketed, sold and/or distributed CRT Products, either directly or
 7   through its subsidiaries or affiliates, throughout the United States. Co-conspirator Hitachi, Ltd.
 8   dominated and controlled the finances, policies and affairs of Hitachi Displays relating to the
 9   antitrust violations alleged in this complaint.
10          35.     Co-conspirator Hitachi America, Ltd. (“Hitachi America”) is a New York
11   company with its principal place of business located at 50 Prospect Avenue, Tarrytown, New
12   York 10591.     Hitachi America is a wholly-owned and controlled subsidiary of Defendant
13   Hitachi, Ltd. During the Relevant Period, Hitachi America manufactured, marketed, sold and/or
14   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
15   United States. Co-conspirator Hitachi, Ltd. dominated and controlled the finances, policies and
16   affairs of Hitachi America relating to the antitrust violations alleged in this complaint.
17          36.     Co-conspirator Hitachi Asia, Ltd. (“Hitachi Asia”) is a Singaporean company
18   with its principal place of business located at 7 Tampines Grande, #08-01 Hitachi Square,
19   Singapore 528736. Hitachi Asia is a wholly-owned and controlled subsidiary of Defendant
20   Hitachi, Ltd. During the Relevant Period, Hitachi Asia manufactured, marketed, sold and/or
21   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
22   United States. Co-conspirator Hitachi, Ltd. dominated and controlled the finances, policies and
23   affairs of Hitachi Asia relating to the antitrust violations alleged in this complaint.
24          37.     Co-conspirator Hitachi Electronic Devices (USA), Inc. (“HEDUS”) is a Delaware
25   corporation with its principal place of business located at 1000 Hurricane Shoals Road Suite D-
26   100, Lawrenceville, GA 30043. HEDUS is a subsidiary of Defendant Hitachi, Ltd and Hitachi
27   Displays. During the Relevant Period, HEDUS manufactured, marketed, sold and/or distributed
28   CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
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 1   States.    Co-conspirators Hitachi, Ltd. and Hitachi Displays dominated and controlled the
 2   finances, policies and affairs of HEDUS relating to the antitrust violations alleged in this
 3   complaint.
 4             38.   Co-conspirator Shenzhen SEG Hitachi Color Display Devices, Ltd. (“Hitachi
 5   Shenzhen”) was a Chinese company with its principal place of business located at 5001
 6   Huanggang Road, Futian District, Shenzhen 518035, China. Hitachi Displays, Ltd. owned at
 7   least a 25% interesting in Hitachi Shenzhen until November 8, 2007 (which was coincidentally
 8   around the time that the government investigations into the CRT industry began). Thus, Hitachi
 9   Shenzhen was a member of the Hitachi corporate group for all but the last two weeks of the
10   Relevant Period. During the Relevant Period, Hitachi Shenzhen manufactured, marketed, sold
11   and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
12   throughout the United States. Co-conspirators Hitachi, Ltd. and Hitachi Displays dominated and
13   controlled the finances, policies and affairs of Hitachi Shenzhen relating to the antitrust
14   violations alleged in this complaint.
15             39.   Co-conspirators Hitachi Ltd., Hitachi Displays, Hitachi America, Hitachi Asia,
16   HEDUS and Hitachi Shenzhen are collectively referred to herein as “Hitachi.”
17             40.   Co-conspirator IRICO Group Corporation (“IGC”) is a Chinese company with its
18   principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi Province 712021.
19   IGC is the parent company for multiple subsidiaries engaged in the manufacture, marketing,
20   distribution and sale of CRT Products.      During the Relevant Period, IGC manufactured,
21   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
22   affiliates, throughout the United States.
23             41.   Co-conspirator IRICO Group Electronics Co., Ltd. (“IGE”) is a Chinese company
24   with its principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi Province
25   712021. IGE is owned by Defendant IGC. According to its website, IGE was the first CRT
26   manufacturer in China and one of the leading global manufacturers of CRTs. Its website also
27   claims that in 2003 it was the largest CRT manufacturer in China in terms of production and
28   sales volume, sales revenue and aggregated profit, and taxation. During the Relevant Period,
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 1   IGE manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
 2   subsidiaries or affiliates, throughout the United States. Co-conspirator IGC dominated and
 3   controlled the finances, policies and affairs of IGE relating to the antitrust violations alleged in
 4   this complaint.
 5          42.        Co-conspirator IRICO Display Devices Co., Ltd. (“IDDC”) is a Chinese company
 6   with its principal place of business located at No. 16, Fenghui South Road West, District High-
 7   tech Development Zone, Xi’an, SXI 710075. IDDC is a partially-owned subsidiary of co-
 8   conspirator IGC. In 2006, IDDC was China’s top CRT maker. During the Relevant Period,
 9   IDDC manufactured, marketed, distributed and/or sold CRT Products, either directly or through
10   its subsidiaries or affiliates, throughout the United States. Co-conspirator IGC dominated and
11   controlled the finances, policies and affairs of IDDC relating to the antitrust violations alleged in
12   this complaint.
13          43.        Co-conspirators IGC, IGE and IDDC are collectively referred to herein as
14   “IRICO.”
15          44.        Co-conspirator LG Electronics, Inc. (“LGEI”) is a corporation organized under
16   the laws of the Republic of Korea with its principal place of business located at LG Twin
17   Towers, 20 Yeouido-dong, Yeongdeungpo-gu, Seoul 150-721, South Korea. LGEI is a $48.5
18   billion global force in consumer electronics, home appliances and mobile communications,
19   which established its first overseas branch office in New York in 1968. The company’s name
20   was changed from Gold Star Communications to LGEI in 1995, the year in which it also
21   acquired Zenith in the United States. In 2001, LGEI transferred its CRT business to a 50/50 joint
22   venture with co-conspirator Koninklijke Philips Electronics N.V. called LG.Philips Displays
23   (“LGPD”). On April 1, 2007, LGPD became an independent company and changed its name to
24   LP Displays International Ltd. During the Relevant Period, LGEI manufactured, marketed, sold
25   and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
26   throughout the United States.
27          45.        Co-conspirator LG Electronics USA, Inc. (“LGEUSA”) is a Delaware
28   corporation with its principal place of business located at 1000 Sylvan Ave., Englewood Cliffs,
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 1   New Jersey 07632. LGEUSA is a wholly-owned and controlled subsidiary of co-conspirator
 2   LGEI. During the Relevant Period, LGEUSA manufactured, marketed, sold and/or distributed
 3   CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
 4   States. Co-conspirator LGEI dominated and controlled the finances, policies and affairs of
 5   LGEUSA relating to the antitrust violations alleged in this complaint.
 6          46.      Co-conspirators LGEI and LGEUSA are collectively referred to herein as “LG
 7   Electronics.”
 8          47.      Co-conspirator LP Displays International Ltd. f/k/a LGPD (“LP Displays”) is a
 9   Hong Kong company located at Corporate Communications, 6th Floor, ING Tower, 308 Des
10   Voeux Road Central, Sheung Wan, Hong Kong. LP Displays is the successor entity to LGPD,
11   which was created in 2001 as a 50/50 joint venture between co-conspirators LGEI and Royal
12   Philips. In March 2007, LP Displays became an independent company. LP Displays is a leading
13   supplier of CRTs for use in television sets and computer monitors with annual sales for 2006 of
14   over $2 billion and a market share of 27%. LP Displays announced in March 2007 that Royal
15   Philips and LGEI would cede control over the company and the shares would be owned by
16   financial institutions and private equity firms.        During the Relevant Period, LP Displays
17   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
18   subsidiaries or affiliates, throughout the United States.
19          48.      Co-conspirator Panasonic Corporation, which was at all times during the Relevant
20   Period known as Matsushita Electric Industrial Co, Ltd. and only became Panasonic Corporation
21   on October 1, 2008, is a Japanese entity located at 1006 Oaza Kadoma, Kadoma-shi, Osaka 571-
22   8501, Japan. During the Relevant Period, Panasonic Corporation manufactured, marketed, sold
23   and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
24   throughout the United States.
25          49.      Co-conspirator Panasonic Corporation of North America (“PCNA”) is a
26   Delaware corporation with its principal place of business located at One Panasonic Way,
27   Secaucus, New Jersey 07094.        PCNA is a wholly-owned and controlled subsidiary of co-
28   conspirator Panasonic Corporation. During the Relevant Period, PCNA manufactured, marketed,
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 1   sold and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
 2   throughout the United States. Co-conspirator Panasonic Corporation dominated and controlled
 3   the finances, policies and affairs of PCNA relating to the antitrust violations alleged in this
 4   complaint.
 5          50.     Co-conspirator Matsushita Electronic Corporation (Malaysia) Sdn. Bhd.
 6   (“Matsushita Malaysia”) was a Malaysian company with its principal place of business located
 7   at Lot 1, Persiaran Tengku Ampuan Section 21, Shah Alam Industrial Site, Shah Alam Malaysia
 8   40000. Matsushita Malaysia was a wholly-owned and controlled subsidiary of co-conspirator
 9   Panasonic Corporation. Panasonic Corporation transferred Matsushita Malaysia to MT Picture
10   Display Co., Ltd. (“MTPD”), its CRT joint venture with Toshiba Corporation, in 2003. It was
11   re-named MT Picture Display (Malaysia) Sdn. Bhd. and operated as a wholly-owned subsidiary
12   of MTPD until its closure in 2006.           During the Relevant Period, Matsushita Malaysia
13   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
14   subsidiaries or affiliates, throughout the United States. Co-conspirator Panasonic Corporation
15   dominated and controlled the finances, policies and affairs of Matsushita Malaysia relating to the
16   antitrust violations alleged in this complaint.
17          51.     Co-conspirators Panasonic Corporation,       PCNA, and Matushita Malaysia are
18   collectively referred to herein as “Panasonic.”
19          52.     Co-conspirator MT Picture Display Co., Ltd., f/k/a Matsushita Toshiba Picture
20   Display Co., Ltd. (“MTPD”) is a Japanese entity located at 1-15 Matsuo-cho, Kadoma-shi,
21   Osaka, 571-8504, Japan. In 2002, Panasonic Corporation entered into a joint venture with co-
22   conspirator Toshiba Corporation called Matsushita Toshiba Picture Display Co., Ltd. to
23   manufacture CRTs. Panasonic Corporation was the majority owner with 64.5 percent. On
24   March 30, 2007, Panasonic Corporation purchased the remaining 35.5 percent stake in the joint
25   venture, making Matsushita Picture Display Co., Ltd. a wholly-owned subsidiary of Panasonic
26   Corporation, and renaming it MT Picture Display Co., Ltd. During the Relevant Period, MTPD
27   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
28   subsidiaries or affiliates, throughout the United States.
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 1             53.   Co-conspirator Beijing Matsushita Color CRT Co., Ltd. (“BMCC”) is a Chinese
 2   company with its principal place of business located at No. 9 Jiuxianqiao N. Rd., Dashanzi
 3   Chaoyang District, Beijing, China. BMCC is a joint venture company, 50% of which is held by
 4   co-conspirator MTPD. The other 50% is held by Beijing Orient Electronics (Group) Co., Ltd.,
 5   China National Electronics Import & Export Beijing Company (a China state-owned enterprise),
 6   and Beijing Yayunchun Brach of the Industrial and Commercial Bank of China (a China state-
 7   owned enterprise).      Formed in 1987, BMCC was Panasonic Corporation’s first CRT
 8   manufacturing facility in China. BMCC is the second largest producer of CRTs for televisions in
 9   China. During the Relevant Period, BMCC manufactured, marketed, sold and/or distributed
10   CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
11   States.
12             54.   Co-conspirator Koninklijke Philips Electronics N.V. a/k/a Royal Philips
13   Electronics (“Royal Philips”) is a Dutch company with its principal place of business located at
14   Amstelplein 2, 1070 MX Amsterdam, The Netherlands. Royal Philips, founded in 1891, is one
15   of the world’s largest electronics companies, with 160,900 employees located in over 60
16   countries. Royal Philips had sole ownership of its CRT business until 2001. In 2001, Royal
17   Philips transferred its CRT business to a 50/50 joint venture with co-conspirator LGEI, forming
18   co-conspirator LGPD (n/k/a LP Displays). In December 2005, as a result of increased pressure
19   on demand and prices for CRT Products, Royal Philips wrote off the remaining book value of
20   126 million Euros of its investment and said it would not inject further capital into the venture.
21   During the Relevant Period, Royal Philips manufactured, marketed, sold and/or distributed CRT
22   Products, either directly or through its subsidiaries or affiliates, throughout the United States.
23             55.   Co-conspirator Philips Electronics North America Corporation (“Philips
24   America”) is a Delaware corporation with its principal place of business located at 1251 Avenue
25   of the Americas, New York, New York 10020-1104. Philips America is a wholly-owned and
26   controlled subsidiary of co-conspirator Royal Philips.        During the Relevant Period, Philips
27   America manufactured, marketed, sold and/or distributed CRT Products, either directly or
28   through its subsidiaries or affiliates, throughout the United States. Co-conspirator Royal Philips
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 1   dominated and controlled the finances, policies and affairs of Philips America relating to the
 2   antitrust violations alleged in this complaint.
 3          56.     Co-conspirator Philips Electronics Industries (Taiwan), Ltd. (“Philips Taiwan”)
 4   is a Taiwanese company with its principal place of business located at 15F 3-1 Yuanqu Street,
 5   Nangang District, Taipei, Taiwan.        Philips Taiwan is a subsidiary of co-conspirator Royal
 6   Philips.   During the Relevant Period, Philips Taiwan manufactured, marketed, sold and/or
 7   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
 8   United States. Co-conspirator Royal Philips dominated and controlled the finances, policies and
 9   affairs of Philips Taiwan relating to the antitrust violations alleged in this complaint.
10          57.     Co-conspirator Philips da Amazonia Industria Electronica Ltda. (“Philips
11   Brazil”) is a Brazilian company with its principal place of business located at Av Torquato
12   Tapajos 2236, 1 andar (parte 1), Flores, Manaus, AM 39048-660, Brazil. Philips Brazil is a
13   wholly-owned and controlled subsidiary of co-conspirator Royal Philips. During the Relevant
14   Period, Philips Brazil manufactured, marketed, sold and/or distributed CRT Products, either
15   directly or through its subsidiaries or affiliates, throughout the United States. Co-conspirator
16   Royal Philips dominated and controlled the finances, policies and affairs of Philips Brazil
17   relating to the antitrust violations alleged in this complaint.
18          58.     Co-conspirators Royal Philips, Philips America, Philips Taiwan and Philips Brazil
19   are collectively referred to herein as “Philips.”
20          59.     Co-conspirator Samsung SDI Co., Ltd. f/k/a Samsung Display Device Company
21   (“Samsung SDI”) is a South Korean company with its principal place of business located at 575
22   Shin-dong, Youngtong-gu, Suwon, South Korea. Samsung SDI is a public company. Samsung
23   Electronics Corporation (“SEC”) is a major shareholder of Samsung SDI, holding almost 20
24   percent of the stock. Founded in 1970, Samsung SDI claims to be the world’s leading company
25   in the display and energy business, with 28,000 employees and facilities in 18 countries. In
26   2002, Samsung SDI held a 34.3% worldwide market share in the market for CRTs; more than
27   any other producer. Samsung SDI has offices in Chicago and San Diego. During the Relevant
28   Period, Samsung SDI manufactured, marketed, sold and/or distributed CRT Products, either
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 1   directly or through its subsidiaries or affiliates, throughout the United States. SEC dominated
 2   and controlled the finances, policies and affairs of Samsung SDI relating to the antitrust
 3   violations alleged in this complaint.
 4          60.     Co-conspirator Samsung SDI America, Inc. (“Samsung SDI America”) is a
 5   California corporation with its principal place of business located at 3333 Michelson Drive, Suite
 6   700, Irvine, California 92612.       Samsung SDI America is a wholly-owned and controlled
 7   subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI America
 8   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
 9   subsidiaries or affiliates, throughout the United States. SEC and co-conspirator Samsung SDI
10   dominated and controlled the finances, policies and affairs of Samsung SDI America relating to
11   the antitrust violations alleged in this complaint.
12          61.     Co-conspirator Samsung SDI Mexico S.A. de C.V. (“Samsung SDI Mexico”) is
13   a Mexican company with its principal place of business located at Blvd. Los Olivos, No. 21014,
14   Parque Industrial El Florido, Tijuana, B.C. Mexico. Samsung SDI Mexico is a wholly-owned
15   and controlled subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung
16   SDI Mexico manufactured, marketed, sold and/or distributed CRT Products, either directly or
17   through its subsidiaries or affiliates, throughout the United States. SEC and co-conspirator
18   Samsung SDI dominated and controlled the finances, policies and affairs of Samsung SDI
19   Mexico relating to the antitrust violations alleged in this complaint.
20          62.     Co-conspirator Samsung SDI Brasil Ltda. (“Samsung SDI Brazil”) is a Brazilian
21   company with its principal place of business located at Av. Eixo Norte Sul, S/N, Distrito
22   Industrial, 69088-480 Manaus, Amazonas, Brazil. Samsung SDI Brazil is a wholly-owned and
23   controlled subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung
24   SDI Brazil manufactured, marketed, sold and/or distributed CRT Products, either directly or
25   through its subsidiaries or affiliates, throughout the United States. SEC and co-conspirator
26   Samsung SDI dominated and controlled the finances, policies and affairs of Samsung SDI Brazil
27   relating to the antitrust violations alleged in this complaint.
28          63.     Co-conspirator Shenzhen Samsung SDI Co., Ltd. (“Samsung SDI Shenzhen”) is
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 1   a Chinese company with its principal place of business located at Huanggang Bei Lu, Futian Gu,
 2   Shenzhen, China. Samsung SDI Shenzhen is a wholly-owned and controlled subsidiary of co-
 3   conspirator Samsung SDI. During the Relevant Period, Samsung SDI Shenzhen manufactured,
 4   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
 5   affiliates, throughout the United States. SEC and co-conspirator Samsung SDI dominated and
 6   controlled the finances, policies and affairs of Samsung SDI Shenzhen relating to the antitrust
 7   violations alleged in this complaint.
 8          64.     Co-conspirator Tianjin Samsung SDI Co., Ltd. (“Samsung SDI Tianjin”) is a
 9   Chinese company with its principal place of business located at Developing Zone of Yi-Xian
10   Park, Wuqing County, Tianjin, China. Samsung SDI Tianjin is a wholly-owned and controlled
11   subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI Tianjin
12   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
13   subsidiaries or affiliates, throughout the United States. SEC and co-conspirator Samsung SDI
14   dominated and controlled the finances, policies and affairs of Samsung SDI Tianjin relating to
15   the antitrust violations alleged in this complaint.
16          65.     Co-conspirator Samsung SDI (Malaysia) Sdn. Bhd. (“Samsung SDI Malaysia”)
17   is a Malaysian corporation with its principal place of business located at Lots 635 & 660,
18   Kawasan Perindustrian, Tuanku Jafaar, 71450 Sungai Gadut, Negeri Sembilan Darul Khusus,
19   Malaysia. Samsung SDI Malaysia is a wholly-owned and controlled subsidiary of co-conspirator
20   Samsung SDI. During the Relevant Period, Samsung SDI Malaysia manufactured, marketed,
21   sold and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
22   throughout the United States. SEC and co-conspirator Samsung SDI dominated and controlled
23   the finances, policies and affairs of Samsung SDI Malaysia relating to the antitrust violations
24   alleged in this complaint.
25          66.     Co-conspirators Samsung SDI, Samsung SDI America, Samsung SDI Mexico,
26   Samsung SDI Brazil, Samsung SDI Shenzhen, Samsung SDI Tianjin and Samsung SDI Malaysia
27   are collectively referred to herein as “Samsung SDI.”
28          67.     Co-conspirator Samtel Color Ltd. (“Samtel”) is an Indian company with its
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 1   principal place of business located at 52, Community Centre, New Friends Colony, New Delhi-
 2   110065. Samtel’s market share for CRTs sold in India is approximately 40%, and it is that
 3   country’s largest exporter of CRT Products. Samtel has gained safety approvals from the United
 4   States, Canada, Germany, and Great Britain for its CRT Products. During the Relevant Period,
 5   Samtel manufactured, marketed, sold and/or distributed CRT Products, either directly or through
 6   its subsidiaries and affiliates, throughout the United States.
 7           68.      Co-conspirator Thai CRT Co., Ltd. (“Thai CRT”) is a Thai company located at
 8   1/F 26 Siam Cement Rd., Bangsue Dusit, Bangkok, Thailand. Thai CRT is a subsidiary of Siam
 9   Cement Group, and it was established in 1986 as Thailand’s first manufacturer of CRTs for color
10   televisions.     During the Relevant Period, Thai CRT manufactured, marketed, sold and/or
11   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
12   United States.
13           69.      Co-conspirator Toshiba Corporation (“TC”) is a Japanese company with its
14   principal place of business located at 1-1, Shibaura 1-chome, Minato-ku, Tokyo 105-8001,
15   Japan. In 2001, TC held a 5 to 10 percent worldwide market share for CRTs used in televisions
16   and in computer monitors. In December 1995, TC partnered with Orion Electronic Co. and two
17   other non-Defendant entities to form P.T. Tosummit Electronic Devices Indonesia (“TEDI”) in
18   Indonesia. TEDI was projected to have an annual production capacity of 2.3 million CRTs by
19   1999.    In 2002, TC entered into MTPD, a joint venture with co-conspirator Panasonic
20   Corporation, in which the entities consolidated their CRT businesses. During the Relevant
21   Period, TC manufactured, marketed, sold and/or distributed CRT Products, either directly or
22   through its subsidiaries or affiliates, throughout the United States.
23           70.      Co-conspirator Toshiba America, Inc. (“Toshiba America”) is a Delaware
24   corporation with its principal place of business located at 1251 Avenue of the Americas, Suite
25   4110, New York, New York 10020.             Toshiba America is a wholly-owned and controlled
26   subsidiary of co-conspirator TC. During the Relevant Period, Toshiba America manufactured,
27   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
28   affiliates, throughout the United States.      Co-conspirator TC dominated and controlled the
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 1   finances, policies and affairs of Toshiba America relating to the antitrust violations alleged in
 2   this complaint.
 3          71.        Co-conspirator Toshiba America Consumer Products, LLC (“TACP”) is a limited
 4   liability company that is headquartered at 82 Totowa Rd., Wayne, New Jersey 07470-3114.
 5   TACP is a wholly-owned and controlled subsidiary of co-conspirator TC through Toshiba
 6   America. During the Relevant Period, TACP manufactured, marketed, sold and/or distributed
 7   CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
 8   States. Co-conspirator TC dominated and controlled the finances, policies and affairs of TACP
 9   relating to the antitrust violations alleged in this complaint.
10          72.        Co-conspirator Toshiba America Electronic Components, Inc. (“TAEC”) is a
11   California corporation with its principal place of business located at 19900 MacArthur
12   Boulevard, Suite 400, Irvine, California 92612.          TAEC is a wholly-owned and controlled
13   subsidiary of co-conspirator TC through Toshiba America. During the Relevant Period, TAEC
14   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
15   subsidiaries or affiliates, throughout the United States.         Co-conspirator TC dominated and
16   controlled the finances, policies and affairs of TAEC relating to the antitrust violations alleged in
17   this complaint.
18          73.        Co-conspirator Toshiba America Information Systems, Inc. (“TAIS”) is a
19   California corporation with its principal place of business located at 9740 Irvine Blvd., Irvine,
20   California 92618-1697. TAIS is a wholly-owned and controlled subsidiary of co-conspirator TC
21   through Toshiba America. During the Relevant Period, TAIS manufactured, marketed, sold
22   and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
23   throughout the United States. Co-conspirator TC dominated and controlled the finances, policies
24   and affairs of TAIS relating to the antitrust violations alleged in this complaint.
25          74.        Co-conspirator P.T. Tosummit Electronic Devices Indonesia (“TEDI”) was a
26   CRT joint venture formed by TC, Orion Electronic Co., and two other entities in December
27   1995. TEDI’s principal place of business was located in Indonesia. TEDI was projected to have
28   an annual production capacity of 2.3 million CRTs by 1999. In 2003, TEDI was transferred to
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 1   co-conspirator MTPD, TC’s joint venture with Panasonic Corporation, and its name was changed
 2   to PT.MT Picture Display Indonesia.         During the Relevant Period, TEDI manufactured,
 3   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
 4   affiliates, throughout the United States.     Co-conspirator TC dominated and controlled the
 5   finances, policies, and affairs of TEDI relating to the antitrust violations alleged in this
 6   complaint.
 7          75.     Co-conspirator Toshiba Display Devices (Thailand) Co., Ltd. (“TDDT”) was a
 8   Thai company with its principal place of business located at 142 Moo 5 Bangkok Industrial
 9   Estate, Tivanon Road, Pathum Thani, Thailand 12000.            TDDT was a wholly-owned and
10   controlled subsidiary of co-conspirator TC. In 2003, TDDT was transferred to co-conspirator
11   MTPD, TC’s joint venture with Panasonic Corporation. It was re-named MT Picture Display
12   (Thailand) Co., Ltd. and operated as a wholly-owned and controlled subsidiary of MTPD until its
13   closure in 2007. During the Relevant Period, TDDT manufactured, marketed, sold and/or
14   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
15   United States. Co-conspirator TC dominated and controlled the finances, policies and affairs of
16   TDDT relating to the antitrust violations alleged in this complaint.
17          76.     Co-conspirators TC, Toshiba America, TACP, TAEC, TAIS, TEDI, and TDDT
18   are collectively referred to herein as “Toshiba.”
19          77.     Co-conspirator Orion Electronic Co. (“Orion”) was a Korean corporation. It filed
20   for bankruptcy in 2004.      Orion was a major manufacturer of CRT Products.                  In 1995,
21   approximately 85% of Orion’s $1 billion in sales was attributed to CRT Products. Orion was
22   involved in CRT Products sales and manufacturing joint ventures and had subsidiaries all over
23   the world, including South Africa, France, Indonesia, Mexico, and the United States. Plaintiff is
24   informed and believes that Orion was wholly owned by the “Daewoo Group.” The Daewoo
25   Group included Daewoo Electronics Co., Ltd. (“Daewoo Electronics”), Daewoo Telecom Co.,
26   Daewoo Corporation, and Orion Electronic Components Co.                The Daewoo Group was
27   dismantled in or around 1999. Daewoo Electronics and Orion were 50/50 joint venture partners
28   in an entity called Daewoo-Orion Societe Anonyme (“DOSA”) in France. As of approximately
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 1   1996, DOSA produced 1.2 million CRTs annually. Daewoo sold DOSA’s CRT business in or
 2   around 2004.       During the Relevant Period, Orion, Daewoo Electronics, and DOSA
 3   manufactured, marketed, sold and/or distributed CRTs and/or CRT Products, either directly or
 4   through their subsidiaries of affiliates, throughout the United States.
 5          78.     Co-conspirators Orion, Daewoo Electronics, and DOSA are collectively referred
 6   to herein as “Daewoo.”
 7          79.     Co-conspirator Chunghwa Picture Tubes, Ltd. (“Chunghwa PT”) is a Taiwanese
 8   company with its principal place of business at No. 1127, Heping Rd., Bade City, Taoyuan,
 9   Taiwan. It was established in 1971 by Tatung Corporation to manufacture CRTs. In 1974,
10   Chunghwa PT’s CRTs received certification by the United States, giving the company entry into
11   that market. Throughout the Relevant Period, Chunghwa PT was one of the major global CRT
12   manufacturers. During the Relevant Period, Chunghwa PT manufactured, marketed, sold and/or
13   distributed CRT Products, either directly or through its subsidiaries or affiliates (such as its
14   Fuzhou subsidiary), throughout the United States.
15          80.     Co-conspirator Chunghwa Picture Tubes (Malaysia) Sdn. Bhd. (“Chunghwa
16   Malaysia”) is a Malaysian company with its principal place of business at Lot I, Subang Hi-Tech
17   Industrial Park, Batu Tiga, 4000 Shah Alam, Selangor Darul Ehsan, Malaysia. It is a wholly-
18   owned subsidiary of Chunghwa PT. Chunghwa Malaysia is focused on CRT production, and it
19   has established itself as one of the leading worldwide suppliers of CRTs. During the Relevant
20   Period, Chunghwa Malaysia manufactured, marketed, sold and/or distributed CRT Products,
21   either directly or through its subsidiaries or affiliates, throughout the United States.              Co-
22   conspirator Chunghwa PT dominated and controlled the finances, policies and affairs of
23   Chunghwa Malaysia relating to the antitrust violations alleged in this complaint.
24          81.     Co-conspirators Chunghwa PT and Chunghwa Malaysia are collectively referred
25   to herein as “Chunghwa.”
26          82.     Co-conspirator Technologies Displays Mexicana, S.A. de C.V. (“Technologies
27   Displays Mexicana”), formerly known as Thomson Displays Mexicana, is a Mexican
28   corporation with its principal place of business located at Calz. Robledo Industrial Colorad,
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 1   Mexicali, B.C. 21384, Mexico. Technologies Displays Mexicana is a wholly owned subsidiary
 2   of defendant TDA, which is itself a wholly owned subsidiary of defendant Videocon. During the
 3   Relevant Period, Technologies Displays Mexicana manufactured, marketed, sold and/or
 4   distributed CRT Products, either directly or indirectly through subsidiaries or affiliates, to
 5   customers throughout the United States. Defendants Thomson SA and later Videocon and TDA
 6   dominated and/or controlled the finances, policies and/or affairs of Technologies Displays
 7   Mexicana relating to the antitrust violations alleged in this Complaint.
 8          83.     Co-conspirator TCL Thomson Electronics Corporation (“TCL Thomson”) is a
 9   joint venture formed between Thomson SA and TCL International Holdings Ltd. (“TCL”). TCL
10   Thomson is headquartered at the TCL Building, South Nanhai Road, Nanshan District,
11   Shenzhen, Guangdong, China.         During the Relevant Period, TCL Thomson manufactured,
12   marketed, sold and/or distributed CRT Products, either directly or indirectly through subsidiaries
13   or affiliates, to customers throughout the United States. One of the direct or indirect subsidiaries
14   of TCL Thomson or TCL that manufactured, marketed, sold and/or distributed CRT Products in
15   the United States was TTE Technology, Inc. (“TTE”). Defendant Thomson SA dominated
16   and/or controlled the finances, policies and/or affairs of TCL Thomson and TTE relating to the
17   antitrust violations alleged in this Complaint.
18   IV.    AGENTS
19          84.     The acts alleged against Defendants in this Complaint were authorized, ordered,
20   or done by their officers, agents, employees, or representatives, while actively engaged in the
21   management and operation of Defendants’ businesses or affairs.
22          85.     Each Defendant or co-conspirator acted as the principal, agent, or joint venturer
23   of, or for, other Defendants and co-conspirators with respect to the acts, violations, and common
24   course of conduct alleged by Plaintiff. Each Defendant and co-conspirator that is a subsidiary of
25   a foreign parent acts as the United States agent for CRTs and/or CRT Products made by its
26   parent company.
27          86.     The acts charged in this Complaint have been done by Defendants and their co-
28   conspirators, or were authorized, ordered or done by their respective officers, agents, employees
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 1   or representatives while actively engaged in the management of each Defendant’s or co-
 2   conspirator’s business or affairs.
 3   V.        TRADE AND COMMERCE
 4             87.   During the Relevant Period, each Defendant, or one or more of its subsidiaries,
 5   sold CRT Products in the United States in a continuous and uninterrupted flow of interstate
 6   commerce and foreign commerce, including through and into this judicial district.
 7             88.   During the Relevant Period, Defendants and their co-conspirators collectively
 8   controlled a vast majority of the market for CRT Products, both globally and in the United
 9   States.
10             89.   The business activities of Defendants substantially affected interstate trade and
11   commerce in the United States, caused antitrust injury in the United States, and restrained
12   competition.    The business activities of Defendants also substantially affected trade and
13   commerce in Florida and caused antitrust injuries and restrained competition in Florida.
14

15
     VI.       FACTUAL ALLEGATIONS
16
                A.   CRT Technology
17
               90.   A CRT has three components: (a) one or more electron guns, each of which is a
18
     series of metallic structures used to generate a beam of electrons; (b) a magnetic or other
19
     deflection system used to aim the electron beam; and (c) a phosphor-coated glass faceplate that
20
     phosphoresces when struck by an electron beam, thereby producing a viewable image. A
21
     faceplate coated with one color of phosphor produces a monochromatic image, while a faceplate
22
     coated with multiple colors of phosphor produces a polychromatic image. An aperture or
23
     shadow mask—a thin screen of perforated metal—is welded to the faceplate panel and, to
24
     produce a color image, is coated and rinsed multiple times, leaving a surface of thousands of
25
     narrow lines of red, green, blue and black.
26
               91.   CRT technology was first developed more than a century ago.                  The first
27
     commercially practical CRT television was made in 1931. However, it was not until RCA
28

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 1   Corporation introduced the product at the 1939 World’s Fair that it became widely available to
 2   consumers. After that, CRTs became the heart of most display products, including televisions,
 3   computer monitors, oscilloscopes, air traffic control monitors and ATMs.
 4          92.     The quality of a CRT itself determines the quality of the CRT display. No
 5   external control or feature can make up for a poor quality tube. In this regard, the CRT defines
 6   the whole CRT product so that the product is often simply referred to as “the CRT.”
 7          93.     Although there have been refinements and incremental advancements along the
 8   way since then, such as the development of thinner CRTs and CRTs with a flat screen, the CRT
 9   technology used today is similar to that RCA unveiled in 1939.
10          94.     CRTs can be subdivided into CDTs and CPTs. As noted above, CPTs are used
11   primarily in televisions and related devices and CDTs are primarily used in computer monitors
12   and similar devices. The primary difference is that CDTs typically yield a higher resolution
13   image requiring more pixels than do CPTs.
14          95.     CRTs have no independent utility, and have value only as components of other
15   products, such as TVs and computer monitors. The demand for CRTs thus directly derives from
16   the demand for such products.
17          96.     The market for CRTs and the market for the products into which they are placed
18   are inextricably linked and intertwined because the CRT market exists to serve the CRT Products
19   markets. The markets for CRTs and CRT Products are, for all intents and purposes, inseparable
20   in that one would not exist without the other.
21          97.     BrandsMart has participated in the market for CRTs through its direct purchases
22   from Defendants of CRT Products containing price-fixed CRTs and its purchases of CRT
23   Products containing price-fixed CRTs indirectly from non-Defendant original equipment
24   manufacturers (“OEM”) and others. Defendants’ unlawful conspiracy has inflated the prices at
25   which BrandsMart bought CRT Products, and BrandsMart has been injured thereby and paid
26   supra-competitive prices for CRT Products.
27          98.     BrandsMart has participated in the market for products containing CRTs. To the
28   extent BrandsMart indirectly purchased CRTs as part of a CRT Product, Defendants’ and their
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 1   co-conspirators’ unlawful conspiracy inflated the prices at which OEMs and others resold CRTs
 2   in these products. Plaintiff was not able to pass the inflated price on to its customers.
 3          99.     BrandsMart has been injured by paying supra-competitive prices for CRT
 4   Products.
 5          B.      Structure of the CRT Industry
 6          100.    The CRT industry has several characteristics that facilitated a conspiracy,
 7   including market concentration, ease of information sharing, the consolidation of manufacturers,
 8   multiple interrelated business relationships, significant barriers to entry, heightened price
 9   sensitivity to supply and demand forces and homogeneity of products.
10                  1.      Market Concentration
11          101.    During the Relevant Period, the CRT industry was dominated by relatively few
12   companies. In 2004, Samsung SDI, LGPD (n/k/a LP Displays), MTPD, and Chunghwa, together
13   held a collective 78% share of the global CRT market. The high concentration of market share
14   facilitates coordination because there are fewer cartel members among which to coordinate
15   pricing or allocate markets, and it is easier to monitor the pricing and production of other cartel
16   members.
17                  2.      Information Sharing
18          102.    Because of common membership in trade associations, interrelated business
19   arrangements such as joint ventures, allegiances between companies in certain countries and
20   relationships between the executives of certain companies, there were many opportunities for
21   Defendants and co-conspirators to discuss and exchange competitive information. The ease of
22   communication was facilitated by the use of meetings, telephone calls, e-mails and instant
23   messages. Defendants and co-conspirators took advantage of these opportunities to discuss, and
24   agree upon, their pricing for CRTs as alleged below.
25                  3.      Consolidation
26          103.    The CRT industry also had significant consolidation during the Relevant Period,
27   including but not limited to: (a) the creation of LGPD in 2001, which was a joint venture
28   involving Philips’ and LG Electronics’ CRT businesses; and (b) the 2002 merger of Toshiba’s
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 1   and Panasonic’s CRT businesses into MTPD.
 2                  4.      High Costs of Entry Into the Industry
 3          104.    There are significant manufacturing and technological barriers to entry into the
 4   CRT industry. It would require substantial time, resources and industry knowledge to overcome
 5   these barriers to entry. It is also extremely unlikely that a new producer would enter the market
 6   in light of the declining demand for CRT Products.
 7          105.    During the Relevant Period, the costs of the assembly components, both as a
 8   whole and individually, have been generally declining, and, in some periods, declining at a
 9   substantial rate.   A combination of price discussions and manipulation of the output of CRTs
10   allowed Defendants and co-conspirators to keep prices above where they would have been but
11   for the conspiracy.
12                  5.      Homogeneity of CRT Products
13          106.    CRT Products are commodity-like products which are manufactured in
14   standardized sizes.    One Defendant’s CRT Product for a particular application, such as a
15   particular size television set or computer monitor, is substitutable for another’s. Defendants and
16   co-conspirators sold CRTs primarily on the basis of price.
17          107.    It is easier to form and sustain a cartel when the product in question is
18   commodity-like because it is easier to agree on prices to charge and to monitor those prices once
19   an agreement is formed.
20          C.      Pre-Conspiracy Market
21          108.    The genesis of the CRT conspiracy was in the late 1980s as the CRT Products
22   business became more international and Defendants began serving customers that were also
23   being served by other international companies. During this period, the employees of Defendants
24   would encounter employees from their competitors when visiting their customers. A culture of
25   cooperation developed over the years and these Defendant employees would exchange market
26   information on production, capacity and customers.
27          109.    In the early 1990s, representatives from Samsung SDI, Daewoo, Chunghwa, and
28   Orion visited each other’s factories in Southeast Asia. During this period, these producers began
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 1   to include discussions about price in their meetings.
 2           D.     Defendants’ and Co-Conspirators’ Illegal Agreements
 3           110.   In order to control and maintain profitability during declining demand for CRT
 4   Products, Defendants and their co-conspirators have engaged in a contract, combination, trust or
 5   conspiracy, the effect of which has been to raise, fix, maintain and/or stabilize the prices at
 6   which they sold CRTs to artificially inflated levels from at least March 1, 1995 through at least
 7   November 25, 2007.
 8           111.   The CRT conspiracy was effectuated through a combination of group and
 9   bilateral meetings. In the formative years of the conspiracy (1995-1996), bilateral discussions
10   were the primary method of communication and took place on an informal, ad hoc basis. During
11   this period, representatives from Daewoo, LG Electronics and Samsung SDI visited other
12   manufacturers, including Philips, Chunghwa, Thai CRT, Hitachi, Toshiba and Panasonic, to
13   discuss increasing prices for CRTs in general and to specific customers. These meetings took
14   place in Taiwan, South Korea, Thailand, Japan, Malaysia, Indonesia and Singapore. Samsung
15   SDI, LG, and Chunghwa, along with Daewoo, also attended several ad hoc group meetings
16   during this period. The participants at these group meetings also discussed increasing prices for
17   CRTs.
18           112.   As more manufacturers formally entered the conspiracy, group meetings became
19   more prevalent. Beginning in 1997, group meetings occurred in a more organized, systematic
20   fashion, and a formal system of multilateral and bilateral meetings was put in place.
21           113.   The overall CRT conspiracy raised and stabilized worldwide and U.S. prices that
22   Defendants and their co-conspirators charged for CRTs.
23                  1.      “Glass Meetings”
24           114.   The group meetings among the participants in the CRT price-fixing conspiracy
25   were referred to as “glass meetings” or “GSM.” Glass meetings were attended by employees at
26   three general levels of the participant corporations.
27           115.   The first level meetings were attended by high level company executives
28   including CEOs, Presidents, and Vice Presidents, and were known as “top” meetings. Top
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 1   meetings occurred less frequently, typically quarterly, and were focused on longer term
 2   agreements and forcing compliance with price fixing agreements. Because attendees at top
 3   meetings had authority as well as more reliable information, these meetings resulted in
 4   agreements. Attendees at top meetings were also able to resolve disputes because they were
 5   decision makers who could make agreements.
 6          116.   The second level meetings were attended by high level sales managers and were
 7   known as “management” meetings.         These meetings occurred more frequently, typically
 8   monthly, and handled implementation of the agreements made at top meetings.
 9          117.   Finally, the third level meetings were known as “working level” meetings and
10   were attended by lower level sales and marketing employees. These meetings generally occurred
11   on a weekly or monthly basis and were mostly limited to the exchange of information and
12   discussing pricing since the lower level employees did not have the authority to enter into
13   agreements. These lower level employees would then transmit the competitive information up
14   the corporate reporting chain to those individuals with pricing authority. The working level
15   meetings also tended to be more regional and often took place near the conspirators’ factories.
16   In other words, the Taiwanese manufacturers’ employees met in Taiwan, the Korean
17   manufacturers’ employees met in Korea, the Chinese in China, and so on.
18          118.   The Chinese glass meetings began in 1998 and generally occurred on a monthly
19   basis following a top or management level meeting. The China meetings had the principal
20   purpose of reporting what had been decided at the most recent glass meetings to the Chinese
21   manufacturers. Participants at the Chinese meetings included the manufacturers located in
22   China, such as IRICO and BMCC, as well as the China-based branches of other conspirators,
23   including but not limited to Hitachi Shenzhen, Samsung SDI Shenzhen, Samsung SDI Tianjin,
24   and Chunghwa.
25          119.   Glass meetings also occurred occasionally in various European countries.
26   Attendees at these meetings included those conspirators which had subsidiaries and/or
27   manufacturing facilities located in Europe, including Philips, LG Electronics, LP Displays,
28   Chunghwa, Samsung, Daewoo (usually DOSA attended these meetings on behalf of Daewoo)
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 1   and IRICO. Chunghwa also attended these meetings.
 2             120.   Representatives of the conspirators also attended what were known amongst
 3   members of the conspiracy as “green meetings.” These were meetings held on golf courses. The
 4   green meetings were generally attended by top and management level employees of the
 5   conspirators. During the Relevant Period, glass meetings took place in Taiwan, South Korea,
 6   Europe, China, Singapore, Japan, Indonesia, Thailand, Malaysia, and the United States.
 7             121.   Participants would often exchange competitively sensitive information prior to a
 8   glass meeting. This included information on inventories, production, sales and exports. For
 9   some such meetings, where information could not be gathered in advance of the meeting, it was
10   brought to the meeting and shared.
11             122.   The glass meetings at all levels followed a fairly typical agenda.          First, the
12   participants exchanged competitive information such as proposed future CRT pricing, sales
13   volume, inventory levels, production capacity, exports, customer orders, price trends and
14   forecasts of sales volumes for coming months. The participants also updated the information
15   they had provided in the previous meeting. Each meeting had a rotating, designated “Chairman”
16   who would write the information on a white board. The meeting participants then used this
17   information to discuss and agree upon what price each would charge for CRTs to be sold in the
18   following month or quarter. They discussed and agreed upon target prices, price increases, so-
19   called “bottom” prices and price ranges for CRTs. They also discussed and agreed upon prices
20   of CRTs that were sold to specific customers, and agreed upon target prices to be used in
21   negotiations with large customers. Having analyzed the supply and demand, the participants
22   would also discuss and agree upon production cutbacks.
23             123.   During periods of oversupply, the focus of the meeting participants turned to
24   making controlled and coordinated price reductions. This was referred to as setting a “bottom
25   price.”
26             124.   The conspiracy included agreements on the prices at which certain conspirators
27   would sell CRTs to their own corporate subsidiaries and affiliates that manufactured end
28   products, such as televisions and computer monitors. The conspirators realized the importance
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 1   of keeping the internal pricing to their affiliated OEMs at a high enough level to support the CRT
 2   pricing in the market to other OEMs. In this way, Defendants and their co-conspirators ensured
 3   that all direct purchaser OEMs paid supracompetitive prices for CRTs.
 4          125.    The agreements reached at the glass meetings included:
 5                          a. agreements on CRT prices, including establishing target prices,
 6                              “bottom” prices, price ranges and price guidelines;
 7                          b. placing agreed-upon price differentials on various attributes of CRTs,
 8                              such as quality or certain technical specifications;
 9                          c. agreements on pricing for intra-company CRTs sales to vertically
10                              integrated customers;
11                          d. agreements as to what to tell customers about the reason for a price
12                              increase;
13                          e. agreements to coordinate with competitors that did not attend the
14                              group meetings and agreements with them to abide by the agreed-
15                              upon pricing;
16                          f. agreements to coordinate pricing with CRT manufacturers in other
17                              geographic markets such as Brazil, Europe and India;
18                          g. agreements to exchange pertinent information regarding shipments,
19                              capacity, production, prices and customers’ demands;
20                          h. agreements to coordinate uniform public statements regarding
21                              available capacity and supply;
22                          i. agreements to allocate both overall market shares and share of a
23                              particular customer’s purchases;
24                          j. agreements to allocate customers;
25                          k. agreements regarding capacity, including agreements to restrict output
26                              and to audit compliance with such agreements; and
27                          l. agreements to keep their meetings secret.
28          126.    Efforts were made to monitor each conspirator’s adherence to these agreements in
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 1   a number of ways, including seeking confirmation of pricing both from customers and from
 2   employees of the conspirators themselves. When cheating did occur, it was addressed in at least
 3   four ways: 1) monitoring; 2) attendees at the meetings challenging other attendees if they did not
 4   live up to an agreement; 3) threats to undermine a competitor at one of its principal customers;
 5   and 4) a recognition of a mutual interest in living up to the target price and living up to the
 6   agreements that had been made.
 7          127.    From 2005-2007 the group glass meetings became less frequent and bilateral
 8   meetings again became more prevalent.
 9                  2.     Bilateral Discussions
10          128.    Throughout the Relevant Period, the glass meetings were supplemented by
11   bilateral discussions between various Defendants and their co-conspirators.             The bilateral
12   discussions were more informal than the group meetings and occurred on a frequent, ad hoc
13   basis, often between the group meetings. These discussions, usually between sales and marketing
14   employees, took the form of in-person meetings, telephone contacts and emails.
15          129.    During the Relevant Period, in-person bilateral meetings took place in Malaysia,
16   Indonesia, Taiwan, China, United Kingdom, Singapore, South Korea, Japan, Thailand, Brazil,
17   Mexico, and the United States.
18          130.    The purpose of the bilateral discussions was to exchange information about past
19   and future pricing, confirm production levels, share sales order information, confirm pricing
20   rumors, and coordinate pricing with manufacturers in other geographic locations, including
21   Brazil, Mexico, Europe, and the United States.
22          131.    In order to ensure the efficacy of their global conspiracy, Defendants and their co-
23   conspirators also used bilateral meetings to coordinate pricing with CRT manufacturers in Brazil,
24   Mexico, and the United States, such as Philips Brazil, Samsung SDI Brazil and Samsung SDI
25   Mexico. These Brazilian and Mexican manufacturers were particularly important because they
26   served the North American market for CRT Products. As further alleged herein, North America
27   was the largest market for CRT televisions and computer monitors during the Relevant Period.
28   Because these manufacturers are all wholly-owned and controlled subsidiaries of Philips and
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 1   Samsung SDI, they adhered to the unlawful price-fixing agreements. In this way, Defendants
 2   and their co-conspirators ensured that prices of all CRTs sold in the United States were fixed,
 3   raised, maintained and/or stabilized at supracompetitive levels.
 4             132.   Defendants and co-conspirators also used bilateral discussions with each other
 5   during price negotiations with customers to avoid being persuaded by customers to cut prices.
 6   The information gained in these communications was then shared with supervisors and taken
 7   into account in determining the price to be offered.
 8             133.   Bilateral discussions were also used to coordinate prices with CRT manufacturers
 9   that did not ordinarily attend the group meetings, such as Defendant Mitsubishi and co-
10   conspirators Hitachi, Toshiba, Panasonic and Samtel. It was often the case that in the few days
11   following a top or management meeting, the attendees at these group meetings would meet
12   bilaterally with the other conspirators for the purpose of communicating whatever CRT pricing
13   and/or output agreements had been reached during the meeting. For example, Samsung SDI had
14   a relationship with Hitachi and was responsible for communicating CRT pricing agreements to
15   Hitachi. LG Electronics had a relationship with Toshiba and was responsible for communicating
16   CRT pricing agreements to Toshiba. Similarly, Samsung SDI had regular communications with
17   Defendant Mitsubishi. And Thai CRT had a relationship with Samtel and was responsible for
18   communicating CRT pricing agreements to Samtel. Hitachi, Toshiba and Samtel implemented
19   the agreed-upon pricing as conveyed by Samsung SDI, LG Electronics and Thai CRT.                  Other
20   times, Hitachi and Toshiba attended the glass meetings. In this way, Hitachi, Toshiba and
21   Samtel participated in the conspiracy to fix prices of CRTs.
22                    3.     Defendants’ and Co-Conspirators’ Participation in Group and
23                           Bilateral Discussions
24                           a. Thomson’s Admitted Participation in the CRT Conspiracy
25             134.   Thomson has admitted that it participated in the CRT price-fixing conspiracy. In
26   its 2011 Annual Report (released in late March 2012), Thomson told its shareholders and the
27   public:
                  On January 9, 2008, Thomson/Technicolor received a request under art 18 (2) of
28
                  Council Regulation n1/2003 from the European Commission (the “EC”) also
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                relating to the CRT industry. Thomson/Technicolor received three further
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                requests for information from the EC on January 16, 2009, January 19, 2009, and
 2              September 15, 2009 respectively.               On November 25, 2009,
                Thomson/Technicolor received a Statement of Objections (“SO”) from the
 3              European Commission. On March 3, 2010, Thomson/Technicolor filed its
                written response to the “SO.” On May 26 and 27, 2010, Thomson/Technicolor
 4              attended an Oral Hearing together with the other parties and the European
                Commission. Thomson/Technicolor stated that it played a minor role in the
 5
                alleged anticompetitive conduct.
 6
     Technicolor Annual Report 2011, at 226 (emphasis added). While BrandsMart disputes that
 7
     Thomson’s role in the CRT price-fixing conspiracy was minor and believes the evidence
 8
     adduced to date demonstrates it was substantial, what cannot be contested is that Thomson by its
 9
     own admission was one of the conspirators.
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            135.     In December 2012, following an investigation of more than four years, the EC
11
     released its finding on the CRT price-fixing conspiracy.        It found that seven companies,
12
     including Thomson, participated in cartels lasting “almost ten years, between 1996 and 2006,” to
13
     fix the prices of CRTs. The EC concluded that “these companies fixed prices, shared markets,
14
     allocated customers between themselves and restricted their output.” The EC official responsible
15
     for competition policy described the CRT cartels as “textbook cartels [that] feature all the worst
16
     kinds of anticompetitive behavior.” Fines totaling €1,470,515,000 were assessed against the
17
     members of the CRT cartels, including a fine of €38,631,000 against Thomson, an amount which
18
     was reduced due to Thomson’s cooperation with the EC investigation. The EC investigation
19
     found that the CRT cartels “operated worldwide” and were “among the most organized cartels
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     that the Commission has investigated.”
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            136.    After the EC announced its finding that Thomson participated in the CRT price-
22
     fixing conspiracy and after Thomson paid the fine imposed by the EC, Thomson again
23
     acknowledged its participation in the conspiracy. In its 2012 Annual Report (released in late
24
     March 2013), Thomson informed its shareholders and the public that “[f]ollowing the European
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     Commission decision, purchasers may bring individual claims against the Company seeking
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     compensation for alleged loss suffered as a result of the anti-competitive conduct.” Technicolor
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     Annual Report 2012, at 216.
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 1          137.   Between at least 1995 and 2005, Thomson participated in and/or was a party to
 2   over 15 bilateral meetings and over 25 group meetings, including “green meetings” in the United
 3   States, with the Defendants and co-conspirators in which unlawful agreements as to, inter alia,
 4   price, output restrictions, and/or customer and market allocation of CRTs occurred. These
 5   meetings attended by Thomson occurred in the United States, Europe, Japan, and China, and
 6   were also attended by representatives from Samsung SDI, MTPD, LPD, Philips, Toshiba, and
 7   Chunghwa, among other co-conspirators.          The purpose of these meetings, and other
 8   communications, between Thomson and the co-conspirators was to raise and stabilize the prices
 9   and set supply levels of CRTs sold by Thomson and its competitors in North America, including
10   the United States. Documents reflect that these meetings among competitors did not occur in the
11   context of a customer-supplier relationship. Thomson also discussed with competitors CRT
12   prices, production, revenues, volumes, demand, inventories, estimated sales, plant shutdowns,
13   customer allocation, and new product development, including for North American CRTs. A
14   substantial number of these meetings were attended by high level sales, operations, and sourcing
15   managers from Thomson Consumer and/or Thomson SA. In addition to in-person meetings,
16   Thomson also communicated with its competitors over the telephone and by email.                     On
17   information and belief, Plaintiff anticipates additional evidence of Thomson’s conspiratorial
18   meetings and/or communications with the Defendants and co-conspirators will be revealed
19   through discovery of Thomson. As examples of Thomson’s active participation in a conspiracy
20   to fix CRT prices during the Relevant Period:
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13   Thomson SA participated in the conspiracy in its own right and through its wholly owned
14   subsidiary, Thomson Consumer, through at least 2005, and participated thereafter through
15   Videocon, in which it retained a 13.1% ownership stake after selling its CRT business to
16   Videocon in 2005. Thomson SA maintained at least a 10% ownership interest in Videocon
17   throughout the conspiracy period.      Thomson SA never effectively withdrew from this
18   conspiracy.
19          138.   Thomson Consumer directly participated in the conspiracy in the United States,
20   which was Thomson’s largest market for CRTs. Between at least 1995 and 2005, Thomson
21   Consumer knowingly participated in and/or was a party to bilateral and group meetings,
22   including “green meetings” in the United States, in which unlawful agreements as to, inter alia,
23   price, output restrictions, and/or customer and market allocation of U.S.-market CRTs occurred.
24   As examples of Thomson Consumer’s active participation in a conspiracy to fix CRT prices
25   during the Relevant Period:
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24          140.   Thomson Consumer knowingly participated in the conspiracy both in its own
25   right and through its parent company Thomson SA, through at least 2005, and participated
26   thereafter through Videocon, in which Thomson SA maintained at least a 10% ownership interest
27   throughout the conspiracy period. Thomson Consumer never effectively withdrew from this
28   conspiracy.
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 1                         b.     Videocon’s Participation in the CRT Conspiracy
 2          141.   Upon information and belief, between 2005 and 2007, Videocon participated in
 3   several glass meetings and multiple bilateral meetings with its competitors, continuing the
 4   practice established by Thomson.       These meetings were attended by high level sales and
 5   marketing managers and executives from Videocon, including one Thomson employee who sat
 6   on Videocon’s Board of Directors, and by employees who had previously attended meetings on
 7   behalf of Thomson.     At these meetings, Videocon discussed such things as CRT prices,
 8   production, revenues, volumes, demand, inventories, estimated sales, plant shutdowns, customer
 9   allocation, and new product development, and agreed on prices and supply levels for CRT
10   Products. These meetings included discussions in which Videocon shared information with
11   competitors regarding the U.S. market for CRTs. Documents reflect that these meetings among
12   competitors did not occur in the context of a customer-supplier relationship.
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18                         Videocon never effectively withdrew from this conspiracy.
19                         c.     TDA’s Participation in the CRT Conspiracy
20          142.   TDA was responsible for the sales and marketing of CRT Products in North
21   America on behalf of its parent company, Videocon. Upon information and belief, Videocon
22   dominated and/or controlled the finances, policies and/or affairs of TDA and directed its pricing
23   of CRT Products sold to the North America market.
24

25                                                                             Upon information and
26   belief, between 2005 and 2007, TDA (originally known as Thomson Displays Americas), and its
27   wholly owned Mexican subsidiary and co-conspirator Technologies Displays Mexicana,
28   knowingly participated in conspiracy meetings and/or were parties to the agreements entered at
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 1   them, individually and through their parent company Videocon. The prices established by TDA
 2   were, thus, the product of conspiratorial communications between Videocon and TDA and their
 3   co-conspirators.
 4          143.    To the extent Thomson Consumer, TDA, and its Mexican subsidiary and co-
 5   conspirator Technologies Displays Mexicana, distributed CRTs to direct purchasers, they played
 6   a significant role in the conspiracy because Defendants wished to ensure that the prices for such
 7   products paid by direct purchasers would not undercut the pricing agreements reached at these
 8   various meetings. Thus, Thomson Consumer, TDA, and Technologies Displays Mexicana were
 9   at those meetings and/or were parties to the agreements and were active, knowing participants in
10   this conspiracy.
11                         d.      Mitsubishi’s Participation in the CRT Conspiracy
12          144.    Between at least 1995 and 2005, Defendant Mitsubishi participated in multiple
13   bilateral and group meetings with its competitors, including but not limited to, co-conspirators
14   Samsung SDI, Toshiba, Chunghwa, and Hitachi. These meetings were attended by high level
15   sales managers and other senior executives from Mitsubishi. At these meetings, Mitsubishi
16   discussed such things as CRT prices, production, future production, revenues, volumes, demand,
17   inventories, estimated sales, plant shutdowns, customer allocation, and new product
18   development, and agreed on prices, customer allocations, and supply levels for CRTs.                  In
19   addition to in-person meetings, Mitsubishi also communicated with its competitors by telephone
20   and email. Examples of Mitsubishi’s active participation in the conspiracy to fix CRT prices
21   during the Relevant Period include, but are not limited to:
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20   All of the above acts, as well as others, were in furtherance of the conspiracy.
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28                 e.       Co-conspirators’ Participation in the CRT Conspiracy
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 1          146.    Between at least 1996 and 2001, co-conspirator Hitachi, through Hitachi, Ltd.,
 2   Hitachi Displays, Hitachi Shenzhen and Hitachi Asia, participated in several glass meetings.
 3   These meetings were attended by high level sales managers from Hitachi. Hitachi also engaged
 4   in multiple bilateral discussions with other participants, particularly with Samsung. Through
 5   these discussions, Hitachi agreed on prices and supply levels for CRTs. Hitachi never effectively
 6   withdrew from this conspiracy.
 7          147.    Co-conspirators Hitachi America and HEDUS were represented at those meetings
 8   and were a party to the agreements entered at them. To the extent Hitachi America and HEDUS
 9   sold and/or distributed CRT Products to direct purchasers, they played a significant role in the
10   conspiracy because Defendants and their co-conspirators wished to ensure that the prices for
11   CRT Products paid by direct purchasers would not undercut the CRT pricing agreements reached
12   at the glass meetings. Thus, Hitachi America and HEDUS were active, knowing participants in
13   the alleged conspiracy.
14          148.    Between at least 1998 and 2007, co-conspirator IRICO, through IGC, IGE and
15   IDDC, participated in multiple glass meetings. These meetings were attended by the highest
16   ranking executives from IRICO. IRICO also engaged in multiple bilateral discussions with other
17   participants, particularly with other Chinese manufacturers. Through these discussions, IRICO
18   agreed on prices and supply levels for CRTs. None of IRICO’s conspiratorial conduct in
19   connection with CRTs was mandated by the Chinese government. IRICO was acting to further
20   its own independent private interests in participating in the alleged conspiracy.
21          149.    Between at least 1995 and 2001, co-conspirator LG Electronics, through LGEI,
22   participated in at least 100 glass meetings at all levels. After 2001, LG Electronics participated
23   in the CRT conspiracy through its joint venture with Philips, LGPD (n/k/a LP Displays). A
24   substantial number of these meetings were attended by the highest ranking executives from LG
25   Electronics. LG Electronics also engaged in bilateral discussions with other participants on a
26   regular basis. Through these discussions, LG agreed on prices and supply levels for CRTs. LG
27   Electronics never effectively withdrew from this conspiracy.
28          150.    Co-conspirator LGEUSA was represented at those meetings and was a party to
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 1   the agreements entered at them. To the extent LGEUSA sold and/or distributed CRT Products, it
 2   played a significant role in the conspiracy because Defendants and their co-conspirators wished
 3   to ensure that the prices for CRT Products paid by direct purchasers would not undercut the CRT
 4   pricing agreements reached at the glass meetings. Thus, LGEUSA was an active, knowing
 5   participant in the alleged conspiracy.
 6          151.    Between at least 2001 and 2006, co-conspirator LP Displays (f/k/a LGPD)
 7   participated in at least 100 glass meetings at all levels. A substantial number of these meetings
 8   were attended by the highest ranking executives from LP Displays. Certain of these high level
 9   executives from LP Displays had previously attended meetings on behalf of LG Electronics and
10   Philips. LP Displays also engaged in bilateral discussions with other participants. Through these
11   discussions, LP Displays agreed on prices and supply levels for CRTs.
12          152.    Between at least 1996 and 2003, co-conspirator Panasonic, through Panasonic
13   Corporation and Matsushita Malaysia, participated in several glass meetings.            After 2003,
14   Panasonic participated in the CRT conspiracy through MTPD, its joint venture with Toshiba.
15   These meetings were attended by high level sales managers from Panasonic and MTPD.
16   Panasonic also engaged in multiple bilateral discussions with other participants. Through these
17   discussions, Panasonic agreed on prices and supply levels for CRTs. Panasonic never effectively
18   withdrew from this conspiracy.
19          153.    PCNA was represented at those meetings and was a party to the agreements
20   entered at them. To the extent PCNA sold and/or distributed CRT Products to direct purchasers,
21   it played a significant role in the conspiracy because Defendants and their co-conspirators
22   wished to ensure that the prices for CRT Products paid by direct purchasers would not undercut
23   the CRT pricing agreements reached at the glass meetings. Thus, PCNA was an active, knowing
24   participant in the alleged conspiracy.
25          154.    Between at least 2003 and 2006, co-conspirator MTPD participated in multiple
26   glass meetings and in fact led many of these meetings during the latter years of the conspiracy.
27   These meetings were attended by high level sales managers from MTPD. MTPD also engaged
28   in bilateral discussions with other participants. Through these discussions, MTPD agreed on
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 1   prices and supply levels for CRTs.
 2          155.    Between at least 1998 and 2007, co-conspirator BMCC participated in multiple
 3   glass meetings. These meetings were attended by high level sales managers from BMCC.
 4   BMCC also engaged in multiple bilateral discussions with other participants, particularly the
 5   other Chinese CRT manufacturers. Through these discussions, BMCC agreed on prices and
 6   supply levels for CRTs. None of BMCC’s conspiratorial conduct in connection with CRTs was
 7   mandated by the Chinese government. BMCC was acting to further its own independent private
 8   interests in participating in the alleged conspiracy.
 9          156.    Between at least 1996 and 2001, co-conspirator Philips, through Royal Philips
10   and Philips Taiwan, participated in at least 100 glass meetings at all levels. After 2001, Philips
11   participated in the CRT conspiracy through its joint venture with LG Electronics, LGPD (n/k/a
12   LP Displays). A substantial number of these meetings were attended by high level executives
13   from Philips. Philips also engaged in numerous bilateral discussions with other participants.
14   Through these discussions, Philips agreed on prices and supply levels for CRTs. Philips never
15   effectively withdrew from this conspiracy.
16          157.    Co-conspirators Philips America and Philips Brazil were represented at those
17   meetings and were a party to the agreements entered at them. To the extent Philips America and
18   Philips Brazil sold and/or distributed CRT Products to direct purchasers, they played a
19   significant role in the conspiracy because Defendants and their co-conspirators wished to ensure
20   that the prices for CRT Products paid by direct purchasers would not undercut the CRT pricing
21   agreements reached at the glass meetings. Thus, Philips America and Philips Brazil were active,
22   knowing participants in the alleged conspiracy.
23          158.    Between at least 1995 and 2007, co-conspirator Samsung SDI, through Samsung
24   SDI, Samsung SDI Malaysia, Samsung SDI Shenzhen and Samsung SDI Tianjin, participated in
25   at least 200 glass meetings at all levels. A substantial number of these meetings were attended
26   by the highest ranking executives from Samsung SDI. Samsung SDI also engaged in bilateral
27   discussions with each of the other participants on a regular basis. Through these discussions,
28   Samsung SDI agreed on prices and supply levels for CRTs.
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 1          159.   Co-conspirators Samsung SDI America, Samsung SDI Brazil and Samsung SDI
 2   Mexico were represented at those meetings and were a party to the agreements entered at them.
 3   Thus, Samsung SDI America, Samsung SDI Brazil and Samsung SDI Mexico were active,
 4   knowing participants in the alleged conspiracy.
 5          160.   Between at least 1998 and 2006, co-conspirator Samtel participated in multiple
 6   bilateral discussions with other participants.    These meetings were attended by high level
 7   executives from Samtel. Through these discussions, Samtel agreed on prices and supply levels
 8   for CRTs. Samtel never effectively withdrew from this conspiracy.
 9          161.   Between at least 1997 and 2006, co-conspirator Thai CRT participated in multiple
10   glass meetings. These meetings were attended by the highest ranking executives from Thai
11   CRT. Thai CRT also engaged in multiple bilateral discussions with other participants. Through
12   these discussions, Thai CRT agreed on prices and supply levels for CRTs. Thai CRT never
13   effectively withdrew from this conspiracy.
14          162.   Between at least 1995 and 2003, co-conspirator Toshiba, through TC, TDDT and
15   TEDI, participated in several glass meetings. After 2003, Toshiba participated in the CRT
16   conspiracy through MTPD, its joint venture with Panasonic. These meetings were attended by
17   high level sales managers from Toshiba and MTPD. Toshiba also engaged in multiple bilateral
18   discussions with other participants. Through these discussions, Toshiba agreed on prices and
19   supply levels for CRTs. Toshiba never effectively withdrew from this conspiracy.
20          163.   Co-conspirators Toshiba America, TACP, TAEC and TAIS were represented at
21   those meetings and were a party to the agreements entered at them. To the extent Toshiba
22   America, TACP, TAEC and TAIS sold and/or distributed CRT Products to direct purchasers,
23   they played a significant role in the conspiracy because Defendants and their co-conspirators
24   wished to ensure that the prices for CRT Products paid by direct purchasers would not undercut
25   the CRT pricing agreements reached at the glass meetings. Thus, Toshiba America, TACP,
26   TAEC and TAIS were active, knowing participants in the alleged conspiracy.
27          164.   Between at least 1995 and 2006, co-conspirator Chunghwa, through Chunghwa
28   PT, Chunghwa Malaysia, and representatives from their factories in Fuzhuo (China) and
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 1   Scotland, participated in at least 100 glass meetings at all levels. A substantial number of these
 2   meetings were attended by the highest ranking executives from Chunghwa, including the former
 3   Chairman and CEO of Chunghwa PT, C.Y. Lin. Chunghwa also engaged in bilateral discussions
 4   with other participants on a regular basis. Through these discussions, Chunghwa agreed on
 5   prices and supply levels for CRTs.
 6          165.       Between at least 1995 and 2004, co-conspirator Daewoo, through Daewoo
 7   Electronics, Orion and DOSA, participated in at least 100 glass meetings at all levels. A
 8   substantial number of these meetings were attended by the highest ranking executives from
 9   Daewoo. Daewoo also engaged in bilateral discussions with other participants. Through these
10   discussions, Daewoo agreed on prices and supply levels for CRTs.               Bilateral discussions
11   involving Daewoo continued until Orion, its wholly-owned CRT subsidiary, filed for bankruptcy
12   in 2004. Daewoo never effectively withdrew from this conspiracy.
13          166.       When Plaintiff refers to a corporate family or companies by a single name in their
14   allegations of participation in the conspiracy, Plaintiff is alleging that one or more employees or
15   agents of entities within the corporate family engaged in conspiratorial meetings on behalf of
16   every company in that family. In fact, the individual participants in the conspiratorial meetings
17   and discussions did not always know the corporate affiliation of their counterparts, nor did they
18   distinguish between the entities within a corporate family. The individual participants entered
19   into agreements on behalf of, and reported these meetings and discussions to, their respective
20   corporate families. As a result, the entire corporate family was represented in meetings and
21   discussions by their agents and were parties to the agreements reached in them.
22          E.         The CRT Market During the Conspiracy
23          167.       Until the last few years of the CRT conspiracy, CRTs were the dominant
24   technology used in displays, including televisions and computer monitors. During the Relevant
25   Period, this translated into the sale of millions of CRT Products, generating billions of dollars in
26   annual profits.
27          168.       The following data was reported by Stanford Resources, Inc., a market research
28   firm focused on the global electronic display industry:
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 1        Year            Units Sold                Revenue                 Average Selling
                          (millions)                (billion US dollars)    Price Per Unit
 2        1998            90.5                      $18.9                   $208
 3        1999            106.3                     $19.2                   $181
          2000            119.0                     $28.0 1                 $235
 4
            169.    During the Relevant Period, North America was the largest market for CRT TVs
 5
     and computer monitors. According to a report published by Fuji Chimera Research, the 1995
 6
     worldwide market for CRT monitors was 57.8 million units, 28 million of which (48.5 percent)
 7
     were consumed in North America. By 2002, North America still consumed around 35 percent of
 8
     the world’s CRT monitor supply. See, The Future of Liquid Crystal and Related Display
 9
     Materials, Fuji Chimera Research, 1997, p.12.
10
            170.    Defendants’ and co-conspirators’ collusion is evidenced by unusual price
11
     movements in the CRT Product market during the Relevant Period. In the 1990s, industry
12
     analysts repeatedly predicted declines in consumer prices for CRT Products that did not fully
13
     materialize. For example, in 1992, an analyst for Market Intelligent Research Corporation
14
     predicted that “[e]conomies of scale, in conjunction with technological improvements and
15
     advances in manufacturing techniques, will produce a drop in the price of the average electronic
16
     display to about $50 in 1997.”         Despite such predictions, and the existence of economic
17
     conditions warranting a drop in prices, CRT Product prices nonetheless remained stable.
18
            171.    In 1996, another industry source noted that “the price of the 14” tube is at a
19
     sustainable USD50 and has been for some years . . . .”
20
            172.    In early 1999, despite declining production costs and the rapid entry of flat panel
21
     display products, the price of large sized color CRTs actually rose. The price increase was
22
     allegedly based on increasing global demand. In fact, this price increase was a result of the
23
     collusive conduct as herein alleged.
24
            173.    After experiencing oversupply of 17” CRTs in the second half of 1999, the
25
     average selling price of CRTs rose again in early 2000. A March 13, 2000 article in Infotech
26
     Weekly quoted an industry analyst as saying that this price increase was “unlike most other PC-
27

28
     1
            Estimated market value of CRT units sold.
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 1   related products.”
 2             174.   A BNET Business Network news article from August 1998 reported that “key
 3   components (cathode ray tubes) in computer monitors have risen in price. ‘Although several
 4   manufacturers raised their CRT prices in the beginning of August, additional CRT price
 5   increases are expected for the beginning of October . . . . While computer monitor price increases
 6   may be a necessary course of action, we [CyberVision, a computer monitor manufacturer] do not
 7   foresee a drop in demand if we have to raise our prices relative to CRT price increases.’”
 8             175.   A 2004 article from Techtree.com reports that various computer monitor
 9   manufacturers, including LG Electronics, Philips and Samsung, were raising the price of their
10   monitors in response to increases in CRT prices caused by an alleged shortage of glass shells
11   used to manufacture the tubes. Philips is quoted as saying that, “It is expected that by the end of
12   September this year [2004] there will be [a] 20% hike in the price of our CRT monitors.”
13             176.   Defendants and co-conspirators also conspired to limit production of CRTs by
14   shutting down production lines for days at a time, and closing or consolidating their
15   manufacturing facilities.
16             177.   For example, CRT factory utilization percentage fell from 90% in the third
17   quarter of 2000 to 62% in the first quarter of 2001. This is the most dramatic example of a drop
18   in factory utilization. There were sudden drops throughout the Relevant Period but to a lesser
19   degree.     Plaintiff is informed and believes that these sudden, coordinated drops in factory
20   utilization by Defendants and co-conspirators were the result of agreements to decrease output in
21   order to stabilize the prices of CRTs.
22             178.   During the latter part of the Relevant Period, while demand in the United States
23   for CRT Products declined, the conspiracy was effective in moderating the normal downward
24   pressures on prices for CRT Products caused by the entry and popularity of the new generation
25   LCD panels and plasma display products.          As Finsen Yu, President of Skyworth Macao
26   Commercial Offshore Co., Ltd., a television maker, was quoted in January of 2007: “[t]he CRT
27   technology is very mature; prices and technology have become stable.”
28             179.   During the Relevant Period, there were not only periods of unnatural and
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 1   sustained price stability, but there were also increases in prices of CRTs and CRT Products.
 2   These price increases were despite the declining demand due to the approaching obsolescence of
 3   CRT Products caused by the emergence of a new, potentially superior and clearly more popular,
 4   substitutable technology.
 5          180.    These price increases and price stability in the market for CRT Products during
 6   the Relevant Period are inconsistent with a competitive market for a product facing rapidly
 7   decreasing demand caused by a new, substitutable technology.
 8          F.      International Government Antitrust Investigations of the CRT Conspiracy
 9          181.    Defendants’ and co-conspirators’ conspiracy to fix, raise, maintain and stabilize
10   the prices of, and restrict output for, CRTs sold in the United States during the Relevant Period,
11   has been and the subject of a multinational investigation commenced by the Antitrust Division of
12   the United States DOJ.
13          182.    Separately, the European Commission and Japan and South Korea’s Fair Trade
14   Commissions also opened investigations into illegal price-fixing of CRTs that were being sold in
15   Europe and Asia.
16          183.    In its 2008 Annual Report, co-conspirator Toshiba reports that “[t]he Group is
17   also being investigated by the [European] Commission and/or the U.S. Department of Justice for
18   potential violations of competition laws with respect to semiconductors, LCD products, cathode
19   ray tubes (CRT) and heavy electrical equipment.”
20          184.    On May 6, 2008, the Hungarian Competition Authority (“HCA”) announced its
21   own investigation into the CRT cartel. The HCA described the cartel as follows:
                           The Hungarian Competition Authority (Gazdasági Versenyhivatal—
22
                           GVH) initiated a competition supervision proceeding against the
23                         following undertakings: Samsung SDI Co., Ltd., Samsung SDI
                           Germany GmbH, Samsung SDI Magyarország Zrt., Thomson TDP
24                         sp. Z.o.o., LG Philips Displays Czech Republic s.r.o.., LP Displays,
                           Chunghwa Pictures Tubes (UK) Ltd, Chunghwa Pictures Tubes Ltd,
25                         Daewoo Orion S.A., Daewoo Electronics Global HQ, Daewoo
                           Electronics European HQ, MT Picture Display Germany GmbH,
26
                           Matsushita Global HQ, Matsushita European HQ.
27
                           Based on the data available the undertakings mentioned above
28                         concerted their practice regarding the manufacturing and distribution
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                             of cathode-ray tubes (including coloured pictures tubes and coloured
 1
                             screen tubes) on the European market between 1995 and 2007. The
 2                           anti-competitive behaviour may have concerned the exchange of
                             sensitive market information (about prices, volumes sold, demand
 3                           and the extent to which capacities were exploited), price-fixing, the
                             allocation of market shares, consumers and volumes to be sold, the
 4                           limitation of output and coordination concerning the production. The
                             undertakings evolved a structural system and functional mechanism
 5
                             of cooperation.
 6
                             According to the available evidences it is presumable that the
 7                           coordination of European and Asian undertakings regarding to the
                             European market also included Hungary from 1995 to 2007. The
 8                           coordination concerning the Hungarian market allegedly formed part
 9                           of the European coordination. Samsung SDI Magyarország. was
                             called into the proceeding since it manufactured and sold cathode-
10                           ray tubes in Hungary in the examined period, and it allegedly
                             participated in the coordination between its parent companies.
11

12           185.    On February 10, 2009, the DOJ issued a press release announcing that a federal

13   grand jury in San Francisco had that same day returned a two-count indictment against the

14   former Chairman and Chief Executive Officer of Chunghwa, Cheng Yuan Lin a/k/a C.Y. Lin, for

15   his participation in global conspiracies to fix the prices of two types of CRTs used in computer

16   monitors and televisions. The press release notes that “[t]his is the first charge as a result of the

17   Antitrust Division’s ongoing investigation into the cathode ray tubes industry.” The press

18   release further notes that Lin had previously been indicted for his participation in a conspiracy to

19   fix the prices of TFT-LCDs. Mr. Lin’s indictment states that the combination and conspiracy to

20   fix the prices of CRTs was carried out, in part, in California.
21           186.    On August 19, 2009, the DOJ issued a press release announcing that a federal

22   grand jury in San Francisco had the previous night returned a one-count indictment against Wu

23   Jen Cheng a/k/a Tony Cheng for his participation in a global conspiracy to fix the prices of

24   CDTs, the type of CRT used in computer monitors. Tony Cheng formerly was an assistant Vice-

25   President of Sales and Marketing at Chunghwa. The press release notes that Cheng previously

26   had been indicted for his participation in a conspiracy to fix the prices of TFT-LCDs. Mr.
27   Cheng’s indictment states that the combination and conspiracy to fix the prices of CRTs was

28   carried out, in part, in California.

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 1           187.    On March 30, 2010, the DOJ issued a press release announcing that a federal
 2   grand jury in San Francisco had that same day returned a one-count indictment against Chung
 3   Cheng Yeh a/k/a Alex Yeh for his participation in a global conspiracy to fix the prices of CDTs,
 4   the type of CRT used in computer monitors. The press release identifies Yeh as a “former
 5   director of sales” at “a large-Taiwan based color display tube (CDT) manufacturer.”                   The
 6   indictment states that the combination and conspiracy to fix the prices of CRTs was carried out,
 7   in part, in California.
 8           188.    On November 9, 2010, the DOJ issued a press release announcing that a federal
 9   grand jury in San Francisco had that same day returned a one-count indictment against Seung-
10   Kyu Lee a/k/a Simon Lee, Yeong-Ug Yang a/k/a Albert Yang, and Jae-Sik Kim a/k/a J.S. Kim
11   for their participation in a global conspiracy to fix the prices of CDTs, the type of CRT used in
12   computer monitors. The press release identifies Lee, Yang, and Kim as “former executives from
13   two color display tube (CDT) manufacturing companies.”             The indictment states that the
14   combination and conspiracy to fix the prices of CRTs was carried out, in part, in California.
15           189.    On March 18, 2011, the DOJ issued a press release announcing that it had reached
16   an agreement with co-conspirator Samsung SDI in which it would plead guilty and pay a $32
17   million fine for its role in a conspiracy to fix prices of CDTs.
18           190.    Samsung SDI admitted that from at least as early as January 1997 until at least as
19   late as March 2006, it participated in a conspiracy among major CDT producers to fix prices,
20   reduce output, and allocate market shares of CDTs sold in the United States and elsewhere.
21   Samsung SDI admitted that in furtherance of the conspiracy it, through its officers and
22   employees, engaged in discussions and attended meetings with representatives of other major
23   CDT producers. During these discussions and meetings, agreements were reached to fix prices,
24   reduce output, and allocate market shares of CDTs to be sold in the United States and elsewhere.
25   Samsung SDI further admitted that acts in furtherance of the conspiracy were carried out in
26   California.
27           191.    The plea agreement of Samsung SDI requires that it cooperate with the DOJ’s
28   ongoing investigation of federal antitrust and related criminal laws involving the manufacture or
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 1   sale of CDTs and CPTs.
 2          192.    As described above, in December 2012 the European Commission announced that
 3   it fined seven companies for participating in cartels to fix the prices of CRTs lasting almost ten
 4   years: Thomson, Samsung SDI, Philips, LG Electronics, Toshiba, Panasonic, and MTPD. The
 5   EC concluded that “the cartelists carried out the most harmful anti-competitive practices
 6   including price fixing, market sharing, customer allocation, capacity and output coordination and
 7   exchanges of commercial sensitive information.”
 8          G.      Effects of the CRT Conspiracy
 9                  1.      Examples of Reductions in Manufacturing Capacity
10          193.    During the Relevant Period, the conspirators conspired to limit production of
11   CRTs by shutting down production lines for days at a time and closing or consolidating
12   manufacturing facilities.
13          194.    In December of 2004, MTPD closed its American subsidiary’s operations in
14   Horseheads, New York, citing price and market erosion. Panasonic announced that the closing
15   was part of the company’s “global restructuring initiatives in the CRT business.” The company
16   further stated that in the future, “CRTs for the North American market will be supplied by other
17   manufacturing locations in order to establish an optimum CRT manufacturing structure.”
18          195.    In July of 2005, LGPD ceased CRT production at its Durham, England facility,
19   citing a shift in demand from Europe to Asia.
20          196.    In December of 2005, MTPD announced that it would close its American
21   subsidiary’s operations in Ohio, as well as operations in Germany, by early 2006. Like LG
22   Philips, the company explained that it was shifting its CRT operations to Asian and Chinese
23   markets.
24          197.    In late 2005, Samsung SDI followed the lead of other manufacturers, closing its
25   CRT factory in Germany.
26          198.    In July of 2006, Orion shut down a CRT manufacturing plant in Princeton,
27   Indiana. The same month, Panasonic announced it was shutting down its CRT factory in
28   Malaysia and liquidating its joint venture with Toshiba.
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 1                  2.     Examples of Collusive Pricing for CRTs
 2          199.    Defendants’ collusion is evidenced by unusual price movements in the CRT
 3   market. In the 1990s, industry analysts repeatedly predicted declines in consumer prices for
 4   CRTs that did not fully materialize. For example, in 1992, an analyst for Market Intelligent
 5   Research Corporation predicted that “[e]conomies of scale, in conjunction with technological
 6   improvements and advances in manufacturing techniques, will produce a drop in the price of the
 7   average electronic display to about $50 in 1997.” Despite such predictions, and the existence of
 8   economic conditions warranting a drop in prices, CRT prices nonetheless remained stable.
 9          200.    In 1996, another industry source noted that “the price of the 14” tube is at a
10   sustainable USD50 and has been for some years . . . .”
11          201.    In reality, prices for CRTs never approached $50 in 1997, and were consistently
12   more than double this price.
13          202.    Despite the ever-increasing popularity of, and intensifying competition from, flat
14   panel monitors, prices for CRT monitors were “stuck stubbornly at high price levels” throughout
15   1995 according to a CNET News.com article. This price stabilization was purportedly due
16   exclusively to a shortage of critical components such as glass. This was a pretext used to conceal
17   the conspiracy.
18          203.    Prices for CRT monitors did fall sharply as a result of the Asian economic crisis
19   of 1998, which severely devalued Asian currencies. This prompted the keynote speaker at Asia
20   Display 1998, an annual conference for the display industry, to state:
21
                    We believe that now is the time to revise our strategic plan in order to
22
                    survive in this tough environment and also to prepare for the coming years.
23
                    This means that we have to deviate from the traditional approach of the
24
                    simple scale up of production volume.
25
            204.    In early 1999, despite declining production costs and the rapid entry of flat panel
26
     display products, the price of large-sized color CRTs actually rose. The price increase was
27
     allegedly based on increasing global demand for the products. In fact, this price rise was the
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 1   result of collusive conduct amongst Defendants.
 2             205.   After experiencing an oversupply of 17” CRTs in the second half of 1999, the
 3   average selling price of CRTs rose again in early 2000. A March 13, 2000 article quoted an
 4   industry analyst as saying that this price increase was “unlike most other PC-related products.”
 5             206.   On June 1, 2004, LG Electronics raised the prices of its 15” and 17” CRT
 6   monitors in India. This price hike was falsely attributed exclusively to a shortage of glass
 7   needed to manufacture CRTs.
 8             207.   Over the course of the Relevant Period, the price of CRTs remained stable, and in
 9   some instances went up in an unexplained manner, despite the natural trend in most technology
10   products to go down over time. CRT technology was mature, and the costs of production were
11   relatively low compared to other emerging technologies. As Finsen Yu, President of Skyworth
12   Macao Commercial Off Shore Co., Ltd, a television maker, was quoted as saying in January of
13   2007, “[t]he CRT technology is very mature; prices and technology have become stable.”
14             208.   CRT prices resisted downward price pressures and remained stable over a period
15   of many years. Even in periods of decreasing prices caused by outside factors, such as the Asian
16   currency crisis, the prices of CRT Products did not decline as much as they would have absent
17   the conspiracy. The stability of the price of CRTs was accomplished by the collusive activities
18   alleged above.
19                    3.     Summary Of Effects Of The Conspiracy Involving CRTs
20             209.   The above combination and conspiracy has had the following effects, among
21   others:
22                           a. Price competition in the sale of CRTs by Defendants and their co-
23                               conspirators has been restrained, suppressed and eliminated
24                               throughout the United States;
25                           b. Prices for CRTs in CRT Products sold by Defendants to BrandsMart
26                               directly and indirectly have been raised, fixed, maintained and
27                               stabilized at artificially high and noncompetitive levels throughout the
28                               United States; and
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 1                          c. BrandsMart was deprived of the benefit of free and open competition
 2                              in the purchase of CRT Products.
 3                          d. As a direct and proximate result of the unlawful conduct of
 4                              Defendants, BrandsMart was injured in its business and property in
 5                              that they paid more for CRT Products than it otherwise would have
 6                              paid in the absence of the unlawful conduct of Defendants.
 7   VII.   PLAINTIFF’S INJURIES
 8          210.    As a purchaser of computer monitors, TVs and other devices that contained
 9   CRTs, BrandsMart suffered a direct, substantial and reasonably foreseeable injury as a result of
10   Defendants’ conspiracy to raise, fix, stabilize or maintain the price of CRTs at supra-competitive
11   levels. Defendants’ conspiracy artificially inflated the price of CRTs causing BrandsMart to pay
12   higher prices than it would have in the absence of Defendants’ conspiracy.
13          211.    BrandsMart also purchased CRT Products containing CRTs from OEMs as well
14   as others, which in turn purchased CRTs from Defendants and their co-conspirators.
15   Defendants’ conspiracy affected and artificially inflated the price of CRTs purchased by these
16   OEMs and others, which paid higher prices for CRTs than they would have absent the
17   conspiracy. The conspiracy artificially inflated the prices of CRTs included in CRT Products.
18          212.    The OEMs and others passed on to their customers, including BrandsMart, the
19   overcharges caused by Defendants’ conspiracy. Plaintiff was not able to pass on to its customers
20   the overcharges caused by Defendants’ conspiracy. Thus, BrandsMart suffered injury when it
21   purchased CRT Products containing such price-fixed CRTs from the OEMs and others.
22          213.    Once a CRT leaves its place of manufacture, it remains essentially unchanged as
23   it moves through the distribution system. CRTs are identifiable, discrete physical objects that do
24   not change form or become an indistinguishable part of a CRT Product. Thus, CRTs follow a
25   physical chain from Defendants through manufacturers of CRT Products sold to BrandsMart.
26          214.    The market for CRTs and the market for CRT Products are inextricably linked
27   and cannot be considered separately. Defendants are well aware of this intimate relationship.
28          215.    Throughout the Relevant Period, Defendants and their co-conspirators controlled
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 1   the market for CRTs. Consequently, during the Relevant Period, the OEMs had no choice but to
 2   purchase CRTs from Defendants and others at prices that were artificially inflated, fixed and
 3   stabilized by Defendants’ conspiracy.
 4          216.    As a result, BrandsMart was injured in connection with its purchases of CRT
 5   Products during the Relevant Period.
 6   VIII. FRAUDULENT CONCEALMENT
 7          217.    BrandsMart did not have actual or constructive knowledge of the facts supporting
 8   its claims for relief despite diligence in trying to discover the pertinent facts. BrandsMart did not
 9   discover, and could not have discovered through the exercise of reasonable diligence, the
10   existence of the conspiracy alleged herein. Defendants engaged in a secret conspiracy that did
11   not give rise to facts that would put BrandsMart on inquiry notice that there was a conspiracy to
12   fix the prices of CRTs.
13          218.    Because Defendants’ agreement, understanding and conspiracy were kept secret,
14   BrandsMart was unaware of Defendants’ unlawful conduct alleged herein and did not know that
15   it was paying artificially high prices for CRT Products.
16          219.    The affirmative acts of Defendants alleged herein, including acts in furtherance of
17   the conspiracy, were wrongfully concealed and carried out in a manner that precluded detection.
18   As noted above, Defendants and their co-conspirators organized glass meetings to avoid
19   detection, conducted bilateral meetings in secret and agreed at glass meetings to orchestrate the
20   giving of pretextual reasons for their pricing actions and output restrictions. Defendants and
21   their co-conspirators would coordinate and exchange in advance the texts of the proposed
22   communications with customers containing these pretextual statements and would coordinate
23   which co-conspirator would first communicate these pretextual statements to customers.
24          220.    By its very nature, Defendants’ price-fixing conspiracy was inherently self-
25   concealing.
26          221.    BrandsMart could not have discovered the alleged contract, conspiracy or
27   combination at an earlier date by the exercise of reasonable diligence because of the deceptive
28   practices and techniques of secrecy employed by Defendants and their co-conspirators to avoid
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 1   detection of, and fraudulently conceal, their contract, conspiracy or combination. The contract,
 2   conspiracy or combination as herein alleged was fraudulently concealed by Defendants by
 3   various means and methods, including, but not limited to, secret meetings, surreptitious
 4   communications between Defendants by the use of the telephone or in-person meetings in order
 5   to prevent the existence of written records, discussion on how to evade antitrust laws and
 6   concealing the existence and nature of their competitor pricing discussions from non-
 7   conspirators (including customers).
 8          222.    Defendants and their co-conspirators agreed not to publicly discuss the existence
 9   or nature of the conspiracy or their agreements. Meetings related to CDTs and CPTs were held
10   separately to avoid detection. Participants at glass meetings were also told not to take minutes.
11   Attending companies also reduced the number of their respective attendees to maintain secrecy.
12   During these meetings, top executives and other officials attending these meetings were
13   instructed on more than once occasion not to disclose the fact of these meetings to outsiders, or
14   even to other employees of Defendants not involved in CRT pricing or production. In fact, the
15   top executives who attended conspiracy meetings agreed to stagger their arrivals and departures
16   at such meetings to avoid being seen in public with each other and with the express purpose and
17   effect of keeping them secret.
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15          225.    Defendants also agreed at glass meetings and bilateral meetings to give pretextual
16   reasons for price increases and output reductions to their customers.
17          226.    As alleged above, in early 1999, despite declining production costs and the rapid
18   entry of flat panel display products, the price of large-sized color CRTs actually rose. The price
19   increase was allegedly based on increasing global demand for the products. In fact, this price
20   rise was the result of collusive conduct amongst Defendants, which was undisclosed at the time.
21          227.    As alleged above, despite increased competition from flat panel monitors, prices
22   for CRT monitors were stuck stubbornly at high price levels throughout 2001. This price
23   stabilization was purportedly due exclusively to a shortage of critical components such as glass.
24   This was a pretext used to cover up the conspiracy.
25          228.    In addition, when several CRT manufacturers, including Samsung, Philips and
26   LG Electronics, increased the price of CRTs in 2004, the price hike was blamed on a shortage of
27   glass shells use for manufacturing CRT monitors. In justifying this price increase, a Deputy
28   General Manager for an LG Electronics distributor in India stated, “[t]his shortage [of glass
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 1   shells] is a global phenomena and every company has to increase the prices of CRT monitors in
 2   due course of time.”
 3          229.    Manufacturers such as LG Electronics periodically issued press statements falsely
 4   asserting that CRT prices were being driven lower by intense competition.
 5          230.    Plaintiff is informed and believes, and thereon alleges, that the purported reasons
 6   for the price increases of CRTs were materially false and misleading and made for the purpose of
 7   concealing the conspirators’ anti-competitive scheme as alleged herein.
 8          231.    As a result of Defendants’ and their co-conspirators’ fraudulent concealment of
 9   their conspiracy, the running of any statute of limitations has been tolled with respect to any
10   claims that Plaintiff has as a result of the anticompetitive conduct alleged in this complaint.
11   IX.    TOLLING
12          232.    As discussed at length in Paragraphs 185-191 above, the United States
13   Department of Justice instituted criminal proceedings and investigations against several
14   participants in the conspiracy commencing on at least February 10, 2009. BrandsMart’s claims
15   were tolled during these criminal proceedings pursuant to 15 U.S.C. § 16.
16          233.    BrandsMart’s claims were tolled under American Pipe & Construction Co. v.
17   Utah, 414 U.S. 538 (1974), and related authorities recognizing cross-jurisdictional tolling during
18   the pendency of the Direct Purchaser Class actions asserted against the participants in the CRT
19   price-fixing scheme and commenced on at least November 26, 2007. BrandsMart was a member
20   of the Direct Purchaser Class Actions, including, but not limited to, the following Complaints:
21                         Crago, Inc. v. Chunghwa Picture Tubes, Ltd., et al., No. 3:07-cv-05944-SC
22                          (Dkt. No. 1) (N.D. Cal. Nov. 26, 2007);
23                         Radio & TV Equipment, Inc. v. Chunghwa Picture Tubes, Ltd., No. 2:08-cv-
24                          00542-JAG, (D.N.J. Jan. 28, 2008);
25                         Sound Investments Corp. v. Chunghwa Picture Tubes, Ltd., No. 2:08-cv-
26                          00543-JAG (D.N.J. Jan. 28, 2008); and
27                         Direct Purchaser Plaintiffs’ Consolidated Amended Complaint, No. 3:07-
28                          cv-05944-SC (Dkt. No. 436) (N.D. Cal. Mar. 16, 2009).
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 1   X.        CLAIM FOR VIOLATIONS
 2                                           First Claim for Relief
 3                               (Violation of Section 1 of the Sherman Act)
 4             234.   Plaintiff incorporates by reference all the above allegations as if fully set forth
 5   herein.
 6             235.   Beginning no later than March 1, 1995, the exact date being unknown to
 7   BrandsMart and exclusively within the knowledge of Defendants, Defendants and their co-
 8   conspirators entered into a continuing contract, combination or conspiracy to unreasonably
 9   restrain trade and commerce in violation of Section 1 of the Sherman Act (15 U.S.C. § 1) by
10   artificially reducing or eliminating competition in the United States.
11             236.   In particular, Defendants and their co-conspirators combined and conspired to
12   raise, fix, maintain, or stabilize the prices of CRTs sold in the United States.
13             237.   As a result of Defendants’ unlawful conduct, prices for CRTs were raised, fixed,
14   maintained and stabilized in the United States.
15             238.   The contract, combination or conspiracy among Defendants consisted of a
16   continuing agreement, understanding, and concerted action among Defendants and their co-
17   conspirators.
18             239.   For purposes of formulating and effectuating their contract, combination or
19   conspiracy, Defendants and their co-conspirators did those things they contracted, combined, or
20   conspired to do, including:
21                           a. participating in meetings and conversations to discuss the prices and
22                               supply of CRTs;
23                           b. communicating in writing and orally to fix target prices, floor prices
24                               and price ranges for CRTs;
25                           c. agreeing to manipulate prices and supply of CRTs sold in the United
26                               States in a manner that deprived direct purchasers of free and open
27                               competition;
28

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 1                          d. issuing price announcements and price quotations in accordance with
 2                              the agreements reached;
 3                          e. selling CRTs to customers in the United States at noncompetitive
 4                              prices;
 5                          f. exchanging competitively sensitive information in order to facilitate
 6                              their conspiracy;
 7                          g. agreeing to maintain or lower production capacity; and
 8                          h. providing false statements to the public to explain increased prices for
 9                              CRTs.
10          240.     As a result of Defendants’ unlawful conduct, BrandsMart was injured in its
11   business and property in that it paid more for CRT Products than it otherwise would have paid in
12   the absence of Defendants’ unlawful conduct.
13                                        Second Claim for Relief
14                 (Violation of the Florida Deceptive and Unfair Trade Practices Act)
15          241.     Plaintiff incorporates and realleges, as though fully set forth herein, each and
16   every allegation set forth in the preceding paragraphs of this Complaint.
17          242.     During the Relevant Period, each of the Defendants named herein, directly, and
18   through affiliates or subsidiaries or agents they dominated and controlled, manufactured, sold,
19   and/or distributed CRT Products in commerce in the United States, including Florida.
20   Defendants’ conduct and fraudulent concealment caused injury to Plaintiff, as both a direct and
21   indirect purchaser, as Defendants’ supra-competitive prices were passed on to Plaintiff as a
22   purchaser.
23          243.     Based on the foregoing, Defendants engaged in unfair and deceptive acts in
24   violation of Fla. Stat. §§ 501.201 et seq.
25          244.     During the Relevant Period, Plaintiff maintained its principal place of business in
26   Florida. Plaintiff also conducted purchasing negotiations in Florida for CRT Products; made
27   purchasing decisions in Florida regarding CRT Products; sent purchase orders and payment for
28   CRT Products from Florida; was invoiced for CRT Products it purchased in Florida; and resold
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 1   CRT Products in Florida through its retail locations in Florida, among other Florida-based
 2   activities. As a result of its presence in Florida, its purchases and sales in Florida, the substantial
 3   business it conducts in Florida, and the injury suffered in Florida, Plaintiff is entitled to the
 4   protection of the laws of Florida.
 5          245.    In violation of Section 501.204, Defendants agreed to act, and did in fact act, in
 6   restraint of trade or commerce by affecting, fixing, controlling and/or maintaining at artificial
 7   and non-competitive levels, the prices at which CRTs were sold, distributed or obtained in
 8   Florida, and took efforts to conceal their agreements from Plaintiff. These acts constitute a
 9   common and continuous course of conduct of unfair competition by means of unfair, unlawful
10   and/or fraudulent business acts or practices.
11          246.    The conduct of the Defendants described herein constitutes unfair and deceptive
12   acts or practices within the meaning of FDUTPA, which is intended to “protect the consuming
13   public and legitimate business enterprises from those who engage in unfair methods of
14   competition, or unconscionable, deceptive, or unfair acts or practices in the course of any trade
15   or commerce.” Fla. Stat. § 501.202(2). FDUTPA is also intended to “make state consumer
16   protection and enforcement consistent with established policies of federal law relating to
17   consumer protection.” Fla. Stat. § 501.202(3).
18          247.    Defendants’ unlawful conduct had the following effects: (1) CRT price
19   competition was restrained, suppressed, and eliminated throughout Florida; (2) CRT prices were
20   raised, fixed, maintained and stabilized at artificially high levels throughout Florida; (3) Plaintiff
21   was deprived of free and open competition; and (4) Plaintiff paid supra-competitive, artificially
22   inflated prices for CRT Products that it purchased both directly and indirectly. During the
23   Relevant Period, Defendants’ illegal conduct in violation of FDUTPA substantially affected
24   Florida commerce, and injured Plaintiff in Florida, causing financial losses.
25          248.    As a result of Defendants’ violation of the FDUTPA, Plaintiff is entitled to
26   damages and the costs of suit, including attorneys’ fees, pursuant to Fla. Stat. § 501.211.
27   XI.    PRAYER FOR RELIEF
28          WHEREFORE, Plaintiff prays that the Court enter judgment on its behalf, adjudging and
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 1   decreeing that:
 2                     A.     Defendants engaged in a contract, combination, and conspiracy in violation
 3   of Section 1 of the Sherman Act (15 U.S.C. § 1) and the FDUTPA, and that Plaintiff was injured
 4   in its business and property as a result of Defendants’ violations, and that defendants unjustly
 5   retained substantial benefits received due to such conspiracy;
 6                     B.     Plaintiff shall recover damages sustained by it, as provided by the federal
 7   and state antitrust laws, and a joint and several judgment in favor of Plaintiff shall be entered
 8   against the Defendants in an amount to be trebled in accordance with such laws, including Section
 9   4 of the Clayton Act;
10                     C.     Defendants engaged in a contract, combination, and conspiracy in violation
11   of the Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §§ 501.201 et seq., and Plaintiff
12   was injured in its business and property as a result of Defendants’ violations;
13                     D.     Plaintiff shall recover damages sustained by it, as provided by Florida
14   Deceptive and Unfair Trade Practices Act, Fla. Stat. §§ 501.201 et seq., and a joint and several
15   judgment in favor of Plaintiff shall be entered against the Defendants;
16                     E.     Defendants, their subsidiaries, affiliates, successors, transferees, assignees,
17   and the respective officers, directors, partners, agents, and employees thereof, and all other
18   persons acting or claiming to act on their behalf, shall be permanently enjoined and restrained
19   from continuing and maintaining the combination, conspiracy, or agreement alleged herein;
20                     F.     Plaintiff shall be awarded pre-judgment and post-judgment interest, and
21   such interest shall be awarded at the highest legal rate from and after the date of service of the
22   initial complaint in this action;
23                     G.     Plaintiff shall recover its costs of this suit, including reasonable attorneys’
24   fees as provided by law; and
25                     H.     Plaintiff shall receive such other or further relief as may be just and
26   proper.
27   XII.      JURY TRIAL DEMAND
28             Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of all
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 1   the claims asserted in this Complaint so triable.
 2

 3   Dated: December 20, 2013                      Respectfully Submitted,
 4

 5                                                 /s/ Philip J. Iovieno

 6                                                 PHILIP J. IOVIENO
                                                   ANNE M. NARDACCI
 7                                                 BOIES, SCHILLER & FLEXNER
                                                   30 South Pearl Street, 11th Floor
 8
                                                   Albany, NY 12207
 9                                                 Telephone: (518) 434-0600
                                                   Facsimile: (518) 434-0665
10                                                 Email: piovieno@bsfllp.com
                                                          anardacci@bsfllp.com
11

12                                                 STUART H. SINGER
                                                   BOIES, SCHILLER, & FLEXNER LLP
13                                                 401 East Las Olas Boulevard, Suite 1200
                                                   Fort Lauderdale, Florida 33301
14                                                 Telephone: (954) 356-0011
                                                   Facsimile: (954) 356-0022
15                                                 Email: ssinger@bsfllp.com
16
                                                   WILLIAM A. ISAACSON
17                                                 BOIES, SCHILLER & FLEXNER
                                                   5301 Wisconsin Ave. NW, Suite 800
18                                                 Washington, DC 20015
                                                   Telephone: (202) 237-2727
19
                                                   Facsimile: (202) 237-6131
20                                                 Email: wisaacson@bsfllp.com

21                                                 Counsel for Plaintiff Interbond
                                                   Corporation of America
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